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                          Attorneys for Defendant
                     8    PACIFIC GAS AND ELECTRIC COMPANY

                     9
                                                       UNITED STATES DISTRICT COURT
                   10
                                                      EASTERN DISTRICT OF CALIFORNIA
                   11

                   12
                          LATASHA M. WINCE, an individual,                     Case No.
                   13
                                                    Plaintiff,                 DEFENDANT PACIFIC GAS AND
                   14                                                          ELECTRIC COMPANY'S NOTICE OF
                                         v.                                    REMOVAL OF CIVIL ACTION TO
                   15
                                                                               FEDERAL COURT
                          PACIFIC GAS and ELECTRIC COMPANY, a
                   16
                          California corporation; JANAE VALENCIA,
                   17     an individual; and DOES 1 through 50,                Complaint Filed: January 18, 2023
                          inclusive,
                   18
                                                    Defendants.
                   19

                   20

                   21            TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE

                   22     EASTERN DISTRICT OF CALIFORNIA AND PLAINTIFF LATASHA M. WINCE:

                   23            PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1441(a), and 1446,

                   24     Defendant PACIFIC GAS AND ELECTRIC COMPANY (“Defendant”) hereby removes the

                   25     above-captioned action from the Superior Court for the State of California, in and for the County

                   26     of Sacramento to the United States District Court, Eastern District of California. Removal is proper

                   27     based on the existence of a federal question, as further discussed below.

                   28
 LITTLER MENDELSON,
         P.C.                                                                                DEFENDANT PACIFIC GAS AND
5200 North Palm A venue                                                                    ELECTRIC COMPANY'S NOTICE OF
       Suite 302
Fresno, CA 93704.2225                                                          1             REMOVAL OF CIVIL ACTION TO
     559.244.7500                                                                                       FEDERAL COURT
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 2 of 71


                          I.     STATEMENT OF JURISDICTION (FEDERAL QUESTION)

                     2           1.      Removal jurisdiction exists because this Court has original jurisdiction over

                     3    LATASHA M. WINCE’S (“PLAINTIFF”) Complaint pursuant to 28 U.S.C. § 1331, and which

                     4    may be removed to this Court pursuant to 28 U.S.C. § 1441, as it is a civil action arising under the

                     5    laws of the United States (Federal Question Jurisdiction). As set forth herein, this case meets all of

                     6    the requirements for removal, is timely, and is properly removed by the filing of this Notice.

                     7    II.    PROCEDURAL BACKGROUND

                     8           2.       On January 18, 2023, Plaintiff filed a complaint in the Superior Court of California,

                     9    County of Sacramento, titled Latasha M. Wince v. Pacific Gas and Electric Company, et al., Case

                   10     No. 34-2023-00333155-CU-WT-GDS (the “Complaint”), which is attached hereto as Exhibit A.

                   11     (Declaration of Julie R. Campos in Support of Defendant’s Notice of Removal of Civil Action to

                   12     Federal Court [“Campos Decl.”], ¶ 2.)

                   13            3.      Plaintiff’s Complaint asserts four causes of action, including: (1) race

                   14     discrimination, harassment, and retaliation, (2) wrongful termination in violation of public policy,

                   15     (3) failure to take all reasonable and necessary steps to prevent and correct discrimination,

                   16     harassment, and retaliation, and (4) intentional infliction of emotional distress. Plaintiff alleges the

                   17     first and fourth causes of action against all defendants, and alleges the second and third causes of

                   18     action against Defendant Pacific Gas and Electric Company only. (Campos Decl., ¶ 4.)

                   19            4.      On February 28, 2023, Defendant filed in the Superior Court its Answer to

                   20     Plaintiff’s Complaint. A true and correct copy of Defendant’s Answer to Plaintiff’s Complaint is

                   21     attached hereto as Exhibit B. (Campos Decl., ¶ 5.)

                   22            5.      Pursuant to 28 U.S.C. § 1446(a), the remaining submissions in this action on file

                   23     with the Sacramento County Superior Court are attached hereto as Exhibit C. To Defendant’s

                   24     knowledge, no further process, pleadings, or orders related to this case have been served by any

                   25     party. (Campos Decl., ¶ 6.) To Defendant’s knowledge none of the other named Defendants have

                   26     been served to date. (Campos Decl., ¶ 3.) To Defendant’s knowledge, none of the Doe Defendants

                   27     have been identified or served to date. (Campos Decl., ¶ 3.)

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 LITTLER MENDELSON,
          P.C.                                                                                  DEFENDANT PACIFIC GAS AND
    Attorneys at Law                                                                          ELECTRIC COMPANY'S NOTICE OF
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        Suite 302
                                                                                 2              REMOVAL OF CIVIL ACTION TO
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                          III.   VENUE

                     2           6.      The action was filed in Superior Court of the State of California, County of

                     3    Sacramento. Venue properly lies in the United States District Court for the Eastern District of

                     4    California pursuant to 28 U.S.C. §§ 84(b), 1391, and 1441(a).

                     5    IV.    TIMELINESS OF REMOVAL

                     6           7.      Defendant was first served with a copy of the Summons and Complaint on January

                     7    30, 2023. (Campos Decl., ¶ 2; Exhibits A, C.) This Notice is timely in that it is being filed within

                     8    thirty (30) days of the date of service of the Summons and Complaint on Defendant, which was the

                     9    first time that Defendant ascertained that the State Court Action was removable under federal law.

                   10     See 28 U.S.C. § 1446(b).

                   11     V.     FEDERAL QUESTION JURISDICTION

                   12            A.      The Parties and The Union

                   13            8.      Plaintiff was employed by Defendant in a classification that is part of the bargaining

                   14     unit represented by the Local Union No. 1245 International Brotherhood of Electrical Workers (the

                   15     “Union”). (Declaration of Chenelle Ponce in Support of Defendant’s Notice of Removal of Civil

                   16     Action [“Ponce Decl.”] at ¶ 3-4, Ex. 1).

                   17            9.      Defendant is a company engaged in an industry affecting commerce within the

                   18     meaning of the National Labor Relations Act (“NLRA”). 29 U.S.C. §§ 152(2), (6), (7), and 185(a).

                   19     The Union is a labor organization under the NLRA and Labor Management Relations Act

                   20     (“LMRA”). 29 U.S.C. §§ 152(5) and 185(a). Defendant and the Union, at all relevant times, have

                   21     been parties to a Collective Bargaining Agreement (“CBA”). (Ponce Decl. ¶ 3, Ex. 1; See also

                   22     Defendant’s Request for Judicial Notice [“RJN”] at ¶ 1).

                   23            B.      Plaintiff’s Employment

                   24            10.     Plaintiff began working for Defendant as a Customer Service Representative on July

                   25     21, 2021. (Ponce Decl., ¶ 4). Throughout her employment, Plaintiff remained in a probationary

                   26     role within the Union-represented bargaining unit, and therefore was subject to the CBA. (Id. at ¶

                   27     4.) Plaintiff’s employment with Defendant ended on March 5, 2022, prior to the expiration of her

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                          probationary period. (Id. at ¶ 4.)

                     2           C.      Allegations Relevant to Removal and Federal Question

                     3           11.     Plaintiff’s claim for wrongful termination hinges on the proposition that she was

                     4    terminated in part because of an improper desire by Defendant to deprive her of her contractual

                     5    rights under the CBA. Specifically, Plaintiff alleges that she was “terminated just one week before

                     6    becoming a full member” of the Union. (Complaint at ¶ 22, 47, 65.) Plaintiff further alleges that

                     7    because of her termination within her probationary period, she was unable to “fully benefit” from

                     8    the Union and was “unable to initiate any grievance procedures.” (Complaint at ¶ 23, 47, 65.)

                     9           12.     Each of Plaintiff’s causes of action center around her alleged wrongful termination.

                   10     In her Complaint, Plaintiff specifically references the alleged wrongful termination under each

                   11     cause of action. (Complaint at ¶ 22-23, 32, 46-50, 54, 65.)

                   12            13.     Plaintiff’s claim for Intentional Infliction of Emotional Distress (“IIED”) is based

                   13     upon the same allegations as her other causes of action. Indeed, Plaintiff simply incorporates her

                   14     preceding allegations by reference, and cites to the same claim that she was “terminated just one

                   15     week before becoming a full member” of the Union, that she was unable to “fully benefit” from the

                   16     Union, and was “unable to initiate any grievance procedures.” (Complaint at ¶ 22-23, 47, 65.)

                   17     Plaintiff generically alleges that this conduct was “extreme and outrageous”. (Id. at ¶ 66.)

                   18            D.      Relevant Collective Bargaining Agreement Provisions

                   19            14.     The relevant CBA was in effect throughout Plaintiff’s employment. (Ponce Decl., ¶

                   20     3, Ex. 1.) Title 9 of the CBA establishes the grievance procedure for bargaining unit employees to

                   21     dispute alleged violations of the CBA. (Ponce Decl., ¶ 3, Ex. 1, P. 16-24.) Section 9.2 of the CBA

                   22     specifically provides that disputes regarding the “[d]ischarge, demotion, suspension or discipline

                   23     of any individual employee” shall be determined by the grievance procedures established therein.

                   24     (Ponce Decl., ¶ 3, Ex. 1, P. 16-17.)

                   25            15.     Moreover, Section 17.5 provides that “employees shall be designated as

                   26     probationary and regular, depending on the length of their Service.” (Ponce Decl., ¶ 3, Ex. 1, P.

                   27     41.) Further, Section 17.5(b) states that “[a]s long as a probationary employee retains such status,

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Fresno, CA 93704.2225                                                                                    FEDERAL COURT
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                          the employee shall not acquire any Service, or rights with respect to leave of absence, holidays, job

                     2    bidding and promotion, demotion and layoff, sick leave, vacation, or similar rights and privileges.” 1

                     3    (Id. at P. 41.) Notably, this Section does not exclude probationary employees from grievance

                     4    procedures or just cause termination rights. Indeed Section 24.1 of the CBA establishes just cause

                     5    termination rights for employees, and does not distinguish between probationary and regular

                     6    employees. (Id. at P. 64.)

                     7              E.     Plaintiff’s Claims are Preempted by Section 301 of the LMRA Because the

                     8    Outcome of Each Claim Requires Interpretation of the Terms of the CBA

                     9              16.    Section 301 of the LMRA provides federal jurisdiction over “suits for violation of

                   10     contracts between an employer and a labor organization.” 29 U.S.C. § 185(a). State law causes of

                   11     action whose outcome depends on an interpretation of the terms of a collective bargaining

                   12     agreement are preempted by Section 301 of the LMRA. See Young v. Anthony's Fish Grottos, Inc.,

                   13     830 F.2d 997, 999 (9th Cir. 1987). If evaluation of a claim is inextricably intertwined with

                   14     consideration of the terms of the labor contract, it is preempted and may be removed to federal

                   15     court. Id. These claims must be re-characterized as LMRA Section 301 claims and, as such, are

                   16     removable to federal court. Associated Builders & Contractors, 109 F.3d at 1356; Young, 830 F.3d

                   17     at 997, 1002.

                   18               17.    As detailed above, Plaintiff’s claims hinge on whether Defendant terminated

                   19     Plaintiff in violation of the CBA, whether Plaintiff’s termination was motivated an intent to deny

                   20     Plaintiff “full” benefits under the CBA, and whether Plaintiff had access to the grievance procedure

                   21     as a probationary employee under the CBA. (Complaint at 22-23, 32, 46-47, 54, 65.) The resolution

                   22     of each of these claims requires the interpretation of the terms of the CBA, and therefore may be

                   23     removed to federal court. Young, 830 F.3d at 997, 999.

                   24               18.    Section 301 preempts all state law claims the evaluation of which is “inextricably

                   25     intertwined” with the resolution of a dispute about the meaning or application to of the terms of a

                   26     labor contract. Hayden v. Reickerd, 957 F.2d 1506, 1509 (9th Cir. 1991). “Once preempted, any

                   27
                          1
                   28         Probationary employees in California are eligible for California Paid Sick Leave.
 LITTLER MENDELSON,
          P.C.                                                                                DEFENDANT PACIFIC GAS AND
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                          claim purportedly based on a state law is considered, from its inception, a federal claim, and

                     2    therefore arises under federal law.” Burnside v. Kiewit Pac. Corp., 491 F.3d 1053, 1059 (9th Cir.

                     3    2007) (internal citations and quotations omitted); accord Harris v. Alumax Mill Products, Inc., 897

                     4    F.2d 400, 403 (9th Cir. 1990). All of Plaintiff’s claims are inextricably intertwined with Plaintiff’s

                     5    allegation that she was wrongfully terminated and that her termination was motivated in part by an

                     6    intent to deny her “full” rights under the CBA. (Complaint at 22-23, 32, 46-47, 54, 65.)

                     7           19.     There is a strong federal policy, as expressed in the LMRA, that amicable labor-

                     8    management relations be safeguarded and promoted through the development of a uniform body

                     9    of federal common law regarding collective bargaining agreements. See Teamsters v. Lucas Flour

                   10     Co., 369 U.S. 95, 103–04 (1962); Textile Workers Union of America v. Lincoln Mills of Alabama,

                   11     353 U.S. 448, 456–57 (1957). Section 301 completely preempts all claims that are based on, or

                   12     require the interpretation of, a collective bargaining agreement. See United Steelworkers of

                   13     America v. Rawson, 495 U.S. 362, 368–69 (1990); Caterpillar Inc. v. Williams, 482 U.S. 386, 394

                   14     (1987); Allis-Chalmers Corp. v. Lueck, 471 U.S. 202, 209–11 (1985); accord Associated Builders

                   15     & Contractors, Inc. v. Local 302 International Brotherhood of Electrical Workers, 109 F.3d 1353,

                   16     1356–57 (9th Cir. 1997) (Section 301 is purposefully construed “quite broadly to cover most state-

                   17     law actions that require interpretation of labor agreements”). Where, as here, the complaint alleges

                   18     that a plaintiff was wrongfully denied rights created by a collective bargaining agreement, Section

                   19     301 preemption squarely applies.

                   20            20.     The fact that Plaintiff has not made specific reference to Section 301 of the LMRA

                   21     will not preclude removal. Cook v. Lindsay Olive Growers, 911 F.2d 233, 237 (9th Cir. 1990).

                   22     Rather, preemption is required if Plaintiff’s claims can only be resolved by interpreting the terms

                   23     of the CBA. Id. Plaintiff may not be permitted to “artfully plead” his claims to conceal the true

                   24     nature of the complaint. Schroeder v. Trans World Airlines, Inc., 702 F.2d 189 (9th Cir. 1983),

                   25     overruled on other grounds by Moore-Thomas v. Alaska Airlines, Inc., 553 F.3d 1241, 1246 (9th

                   26     Cir. 2009). The Court may properly look beyond the face of the Complaint to determine whether

                   27     the claims asserted are, in fact, a Section 301 claim for breach of the CBA which has been “artfully

                   28
 LITTLER MENDELSON,
          P.C.                                                                                DEFENDANT PACIFIC GAS AND
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Fresno, CA 93704.2225                                                                                    FEDERAL COURT
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                          pleaded” to avoid federal jurisdiction. Lippitt v. Raymond James Fin. Servs., Inc., 340 F.3d 1033,

                     2    1041 (9th Cir. 2003). Additionally, the Court may properly look to the facts stated in the Notice of

                     3    Removal “to clarify the action a plaintiff presents and to determine if it encompasses an action

                     4    within federal jurisdiction.” Schroeder, 702 F.2d at 191.

                     5             21.   As discussed, all of Plaintiff’s claims are (1) completely preempted by Section 301

                     6    of the LMRA, (2) properly characterized as Section 301 claims, and (3) removal jurisdiction exists

                     7    on this basis. However, to the extent that any pleaded claim is deemed not preempted by Section

                     8    301 of the LMRA, it is still removable to this Court pursuant to its power to hear pendent state law

                     9    claims that arise “from a common nucleus of operative fact.” United Mine Workers v. Gibbs, 383

                   10     U.S. 715, 725 (1966); Bale v. General Telephone Co. of California, 795 F.2d 775, 778 (9th Cir.

                   11     1986).

                   12              F.    Plaintiff’s Claim for Intentional Infliction of Emotional Distress is Preempted

                   13     by Section 301 of the LMRA

                   14              22.   Plaintiff’s claim for IIED is entirely based upon the same allegations as her

                   15     preceding claims – namely that Defendant wrongfully terminated her employment in violation of

                   16     the CBA in an attempt to deprive her of her rights under the CBA. (Complaint at ¶ 22-23, 47, 65.)

                   17     It is well established that “where a claim for IIED is ‘no more than a claim that [the plaintiff] was

                   18     fired without good cause and that as a result he suffered emotional distress’ the claim is preempted

                   19     under the NLRA.” Traister v. Albertson’s LLC, 2023 U.S. Dist. LEXIS 6236 at *16 (citing Buscemi

                   20     v. McDonnell Douglas Corp., 736 F.2d 1348, 1352 (9th Cir. 1984). Therefore, Plaintiff’s IIED

                   21     claim is preempted by Section 301.

                   22              23.   As many cases have recognized, the reasonableness and/or outrageousness of

                   23     Defendant’s alleged conduct with respect to a union-represented employee depends on the

                   24     employer and employee’s respective rights and duties under the collective bargaining agreement.

                   25     The weight of the case law is overwhelming: state law IIED claims by union-represented employees

                   26     are preempted by Section 301. See Cook, 911 F.2d at 239-40 (9th Cir. 1990); Perugini v. Safeway

                   27     Stores, Inc., 935 F.2d 1083, 1088 (9th Cir. 1991); Hyles v. Mensing, 849 F.2d 1213, 1216 (9th Cir.

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 LITTLER MENDELSON,
          P.C.                                                                                DEFENDANT PACIFIC GAS AND
    Attorneys at Law                                                                        ELECTRIC COMPANY'S NOTICE OF
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                          1988); Scott v. Machinists Auto. Trades Dist. Lodge No. 190 of N. California, 827 F.2d 589, 594

                     2    (9th Cir. 1987); Shane v. Greyhound Lines, Inc., 868 F.2d 1057, 1063 (9th Cir. 1989); Wise v. Solar

                     3    Turbines, Inc., 2014 WL 2573324, *3 (S.D. Cal. June 9, 2014) (“A plaintiff faces an ‘uphill battle’

                     4    when he attempts to avoid Section 301 preemption of an IIED claim”); Ortizv. Permanente Med.

                     5    Group, Inc., 2013 WL 1748049, *7 (N.D. Cal. Apr. 23, 2013) (IIED “is not an independent,

                     6    nonnegotiable standard of behavior. ... [I]t depends upon the relationship between [the parties] such

                     7    that the terms of the CBA are relevant in evaluating the reasonableness or outrageousness of

                     8    defendants’ conduct”); De’Sart v. Pacific Gas and Electric Co., 2018 WL 3545927 at *5; Kroeger

                     9    v. L3 Techs., Inc., 2018 WL 1357363 at *11. The narrow exemption to this rule – not applicable

                   10     here – is for the rare collective bargaining agreement that is silent on working conditions and the

                   11     disciplinary process. Shane v. Greyhound Lines, Inc., 868 F.2d 1057, 1063 (9th Cir. 1989).

                   12            G.      The Court has Supplemental Jurisdiction Over Any Non-Preempted Claims

                   13            24.     All of Plaintiff’s claims, including her First and Third Causes of Action under the

                   14     FEHA, are inextricably intertwined with the reasons and manner of her termination. Here, the

                   15     argument in favor of Section 301 preemption of the entire action (even claims which, standing

                   16     alone, would not be preempted) is further supported because the various provisions specific to her

                   17     role as a probationary employee (as opposed to a “regular employee”) must be grappled with in

                   18     determining whether Plaintiff was able to initiate the grievance procedure under the CBA in order

                   19     to address her claims of discrimination, harassment, and/or retaliation, and failure to prevent the

                   20     same. Accordingly, this Court has supplemental jurisdiction over the entre action, including any

                   21     non-preempted claims, because all causes of action are sufficiently related so as to form part of the

                   22     same case or controversy. See 28 U.S.C. § 1367; Scott v. Machinists Auto. Trades Dist. Lodge No.

                   23     190 of N. California, 827 F.2d 589, 592 (9th Cir. 1989).

                   24     VI.    NOTICE TO PLAINTIFF AND STATE COURT

                   25            25.     Pursuant to 28 U.S.C. section 1446(d), concurrently with the filing of this Notice of

                   26     Removal in the United States District Court for the Eastern District of California, written notice of

                   27     such filing will be given by the undersigned to Plaintiff. (Campos Decl., ¶ 7.) See Defendant’s

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 LITTLER MENDELSON,
          P.C.                                                                                DEFENDANT PACIFIC GAS AND
    Attorneys at Law                                                                        ELECTRIC COMPANY'S NOTICE OF
5200 North Palm A venue
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                                                                               8              REMOVAL OF CIVIL ACTION TO
Fresno, CA 93704.2225                                                                                    FEDERAL COURT
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                          Notice to Plaintiff of Removal of Civil Case to Federal Court, attached hereto as Exhibit D.2 In

                     2    addition, a copy of this Notice of Removal will be promptly filed with the Clerk of the Superior

                     3    Court of the State of California for the County of Sacramento. (Campos Decl., ¶ 8.) See Defendant’s

                     4    Notice to State Court of Removal of Civil Case to Federal Court, attached hereto as Exhibit E. 3

                     5             26.       WHEREFORE, pursuant to 28 U.S.C. §1331, 1441(a) and 1446, Defendant removes

                     6    this case from the Superior Court of the State of California, County of Sacramento, to the United

                     7    States Court for the Eastern District of California.

                     8             Dated: March 1, 2023                      LITTLER MENDELSON, P.C.

                     9

                   10

                   11                                                        Ryan L. Eddings
                   12                                                        Julie R. Campos

                   13                                                        Attorneys for Defendant
                                                                             PACIFIC GAS AND ELECTRIC COMPANY
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                          4887-2924-4497.1 / 101443-1144
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                   26     2
                            So as to avoid lodging duplicative papers with this Court, the exhibits to Defendant’s Notice to
                   27     Plaintiff of Removal of Civil Action to Federal Court are omitted from this filing.
                          3
                            So as to avoid lodging duplicative papers with this Court, the exhibits to Defendant’s Notice to
                   28     State Court of Removal of Civil Action to Federal Court are omitted from this filing.
 LITTLER MENDELSON,
          P.C.                                                                              DEFENDANT PACIFIC GAS AND
    Attorneys at Law                                                                      ELECTRIC COMPANY'S NOTICE OF
5200 North Palm A venue
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              Exhibit “A”
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           2   LAW OFFICES OF JEROME A. CLAY                                                          +++• .... .NNw.N+wN.+wN


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           6   Fax: (51U) 280-2841
           7   jclay7@claylaw.net
                        .         .a       ,                                                      .                             •a
               Attocney'for Plaintiff
           9   LATASHA M. WINCE

       10                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
       II                                       COUNTY OF SACRAIVIENTO

       12
       13      LATASHA M. WINCE, an individual,                 ) CASE NO.:
       14                                                       )
       15                              Plaintiff,                )   PLAINTIFF'S COMPLAINT FOR:
.      16                                                        )
       17                                vs.                     )   1.Race Discrimination, Harassment and
       18                                                        )      Retaliation.in Violation of FEHA
       19       PACIFIC GAS and ELECTRIC        COMPANY,         )      §§12940 et seq.
       20      Ia                                                    2. Wrongful Termination in Violation of Public
                  Catifornia corporation; JANAE VALENCIA., )
       21       an individual; and DOES 1 through 50, inclusive, )      Policy
       22                                                        )   3. Failure to Take All Reasonable and Necessary
       23                           Defendants.                  )      Steps to Prevent and Correct Discrimination,
       24                                                        )      Harassment, and Retaliation in violation of
       25                                                        )      FEHA §§12940 et seq.
       26                                                        )   4. Intentional Infliction of Emotional Distress
       27           .                                           }
       28                                                       )
       29                                                       ) [Demand for Jury Trial]
       30                                                       )                                                          BY F
                                                                         .
       31                                                       ~




                                                                     i
   LAW
OFFICHS OF
JEROME A
    CLAY
                   Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 12 of 71




       1             Plaintiff, LATASHA M. WINCE (hereinafter referred to as "Plaintiff' or "WINCE"), brings this

       2     action against Defendants, PACIFIC GAS & ELECTRIC COMPANY . (hereinafter referred ,to -as

       3     "PG&E'.'),. JANAE VALENCIA (hereinaffter referred to as "VALENCIA'), and DOES 1 through 50,

       4• inclusive.(heteinafler collectively referred to as "Defendants"), and in support thereof, wouldrespectfully
                              •                •    '                                                ..        . •

       5     show unto the Honorable Court as follows:

       6                                                         INTRODUCTION

        7            1.           :This. lawsuit sterns -from Defendants' unlawful practices, discrimination, harassment;:and
               .          -              .     ,.       ..                                                           •
       8     retaliation against Plaintiff in regard to terms, conditions, and privileges of employment. Plaintiff brings

        9    this action under the California Fair Employment and Housing Act (hereinafter referred to as 'FEHA"),

      10     California Government Code §§ 12940 et seq., to correct the Defendants' unlawful practices against her

 - • 1 l.    and to get appropriate relief as she has been adversely affected by Defendants' such practices.

      12                                                     JIIRISDICTION AND VENUE

      13             2.           This Court has jurisdiction over this action pursuant to the Code of Civil Procedure, §§

      14     32:5 and 410.10. The jurisdiction of this Court is also invoked pursuant to FEHA Caf. Gov. Code §§

      15     12900 et seq. .

      16             3.           The venue is proper pursuant to Code of Civil Procedure, § 395(a) because Plaintiff was

      17     employed. by Defendant PG&E in Sacramento County, State of California.

       18                                                            PARTIES

       19            4.            Plaintiff, WINCE, is an individual, and at all times relevant to this Complaint, was a

       20    resident of the City of Stockton, County of San Joaquin, State of California. Plaintiff, at all times relevant

       21    to this Complaint, employee of Defendant PG&E within the meaning of Cal. Gov. Code §§ 12940 et seq.

       22             5.           Defendant, PG&E, is a California corporation, and at all times relevant to this Complaint

       23    was, doing business in Sacramento County, State of California. At all times relevant to this Complaint,

       24    Defendant PG&E is an employer within the meaning of Cal. Gdv. Code § 12940(j)(4)(A). Cal. Gov. Code
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         1   §§ 12940 et seq., obligates employers to provide a work environment free from discrimination,

         2   -harassinent, and retaliation and take all reasonable steps necessary to prevent discrimination, harassment,

         3   arid'retaliation from occurring.

         4          6.      Defendant, VALENCIA, is an individual, and at all times relevant to tbjs Complaint,'was

         5   an employee of PG&E.

         6           7. .   Plaintiff is ignorant of the true names and capacities of Defendants sued herein as DOES

       .,7   l through 50; -inclusive, and therefore sue these Defendants by such fictitious names under Code of.Civil.

         8   Procedure, § 474. Plaintiff will seek the Court's leave to amend this Complaint to allege the true names'

         9   and capacities of Defendants sued herein as DOES 1 through 50 when ascertained. Plaintiff is informed

       10    and believes, and thereon alleges, that the Defendants named in this Complaint, including DOES 1 through

  ~    I1    50; inclusive, are responsible in some manner for one or more of the events and happenings that

  , . 12     proxirriately caused the injuries and damages alleged herein.

       13            8.     The officers, agents, and/or employees of the Defendants and each of them acting on behalf

       14    of the Defendants acted within the course and scope of their employment. The officers, agents, and/or

       15    employees of the Defendants personally participated and were authorized by PG&E in the conduct alleged

       16    herein' on behalf of the Defendants. Consequently, all Defendants are jointly and severally liable to

       17    Plaintiff for the loss sustained as a direct and proximate result of the conduct of the Defendants' offcers,

       18    agents, and/or employees.

       19            9.     Plaintiff is informed and believes, and upon such information and belief, alleges that each

       20    Defendant, directly or indirectly, or through agents or other persons, employed Plaintiff and exercised

       21    control over wages, hours, and working conditions. Plaintiff is informed and believes, and upon such

       22    information and belief, alleges that each Defendant acted in all respects pertinent to this action as the agent

       23    of the other, Defendants. Each Defendant carried out a joint scheme, business plan, or policy in all respects

       24    pertinent liereto, and the acts of each Defendant are legally attributable to the other Defendants.

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        1                                EXHAUSTION OF ADMINISTRATIVE REMEDIES

      : 2               10.      Prior to the initiation of this lawsuit, Plaintiff has met aIl the jurisdictional requirements

        3        for proceeding with -her claims under the California FEHA (Cal. Gov. Code'§§ '12960 et seq.) by timely

        4        filirig administrative complaints with the Civil Rights Department ("CRD"). At Plaintiffs request, the

        5        CRD issued R.ight-to-Sue Letter on December 6, 2022. A true and correct copy of such Right-to-Sue

       -6: Letter is attached hereto as Exhibit "A" and is fully incorporated herein by reference.
             .
        7             .11•.      This action is filed within one year of the date of ttie Right-to-Sue'lefter. Consequently,

        8        Plaint'iff has fully 'exhausted her administrative remedies to file this Complaint.

        9                                 FACTS COMMON TO ALL CAUSES OF ACTION

       10                  12.   In July 2021, Plaintiff WINCE started her employment with PG&E as a Customer Service

  '    ll        Representative. The1ob information and training were provided to Plaintiff in English.

       12                  13.   Plaintiffs responsibilities included answering calls, creating tickets, sending out texts, and

       13        advising of account status.

       14                  14.   Plaintiff was paid on an hourly basis. She worked 40 hours a week and sometimes did

       15        overtime too. She did her job very well and used to get good compliments from the customers.

       16                  15.   Plaintiff was racially discriminated against by her Latin supervisor VALENCIA. I

       17        VALENCIA frequently used Spanish during meetings and group chats, thus isolating a big group of I

       18        people.

       19                  16.   VALENCIA also provided instructions in Spanish that only Spanish-speaking people

      '20        could understand. Not everyone in the group knew the Spanish language.

       21                  17.   When Plaintiff pointed this issue to her supervisor VALENCIA, she didn't like it. After

       22        that, her supervisor stopped passing the customer compliments to her, and because of that, Plaintiff lost

       23        several customer compliments.



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     . 1
                       l 8.    Plaintiff had a lot of good reviews and customer compliments when she worked under her

         2      previous manager.. The photographs of Plaintifl's Compiiment Forms are attached hereto as ExhibIt

         3      and.are fully incorporated herein by reference.

     ,4'               19.     Plaintiff was approached by VALENCIA and-asked aboqt her-experience as a supervisor:

         .5 .   VALENCIA then told PlaintifP that she needed a mentor. Even• though the Plaintiff was quite familiar

         6      with*her work and was doing it well, but still a mentor was assigned to her.

       •.~~ .          20.••   Plaintiff s mentor expressed to her that they didn't know why they had been called becaiise

          8     Plaintfff was doing a good job. The same thing happened with Plaintiff s Latin' co-worker Christina as

         9      she- was also given a mentor.

       10              21.     On March 4, 2022, Plaintiff was terminated from her employment without any specific

 -     I1       reason, but Christina is still doing her job with PG&E.

 . 12                  22.     Plaintiffs employment was terminated just one week before becoming a full member of

       13       the "International Brotherhood of Electrical Workers, Local Union 1245" ("IBEW").

       14              23.     Plaintiff was paying IBEW's dues, but in order to fully benefit from them; she needed eight

       15       months of inembership. However, because of Plaintiffs termination from PG&E, she was unable to

       16       initiate any grievance procedures.

       17              24.     As a direct and proximate result of PG&E'S adverse employment action against Plaintiff,

       18       she has suffered and will suffer a loss of past and fitture income.

       19              25.     As a direct and proximate result of the Defendants' extreme and outrageous conduct,

       20       Plaintiff suffered and continues to suffer physical and mental pain, including distress, anxiety, anguish,

       21       liumiliation, embarrassment, emotional distress, and indignity.

       22

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         1                                              CAUSES OF ACTION

        .2                                        FIRST CAUSE OF ACTION
         3                       (Race Discrimination, Harassment, and Retaliation in Violation of
         4.                                      Cal. Gov. Code§§ 12940 et seq:)
         5                                          (Against All Defendants) . .
         6           26.       Plaintiff repeats, realleges, and incorporates by reference the paragraphs• 1-25 with the

         7    same force and effect as though fully set forth herein.
         g.          27..      PG&E, as an employer, is subject to the laws of the State of California and the Fair
         9.
              Employinent'and Housing Act for discrimination based on race and aatiorial origin b6cause, at a11 'times

       10     relevant herein, it regularly employed one or more persons in the State of California.

        li           28.       Defendants' conduct, as alleged, violated FEHA, Government Code section 12900, et seq.,

       12     and Defendants committed unlawful employment practices, including by the following basis for liabiiity;

       13                   a. Discharging, barring, refusing to transfer, retain, hire, select, and/or employ, and/c

       14                      otherwise discriminating against Plaintiff, in whole or in part based on Plaintiffls race, i

       15                      violation of Government Code section 12940(a);

       16                   b. Harassing Plaintiff and/or creating a hostile work environment, in whole or in part based o

       17                      Plaintiffs race, in violation of Government Code section 12940(j);

       18                   C. Failing to take all reasonable steps to prevent discrimination and harassment based on raci

       19                      in violation of Government Code section 12940(k); and

       20                   d. Retaliating against Plaintiff for seeking to exercise rights guaranteed under FEHA and/oi

        21                     opposing Defendants' failure to provide such rights, in violation of Govemment Code

        22                     section 12940(h).

        23            29.      Plaintiff started working with Defendant PG&E in July 2021, as a Customer Service

        24    Representative. Plaintiff was racially discriminated against by, her Latin supervisor, VALENCIA, who

        25    frequently used Spanish during meetings and group chats, thus isolating a big group of people. However,

        26    the job information and training were provided to Plaintiff in English.
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                                   30.     VALENCIA also provided instructions in Spanish that only Spanish-speaking people

                            could understand. Not everyone in the group knew the Spanish language.

                                   31..    When Plaintiff pointed this issue to her supervisor VALENCIA, she didn't like it. After

                            that, in retaliation, VALENCIA stopped passing the custoqier compliments to Plaintiff, and because of

                            that, Plaintiff lost several customer compliments.
                                                                  ~                    .         •
                                    32.      Even though Plaintiff was quite familiar witli her work and was doing it well, but still a

    „             7         mentor was assigned to her and her Latin co-w.orker Christina. Subsequently;.an March 4, 2022, PG&E
.                 .$
                            terminated Ptaintiff s employment without any specific reason.

                   9               33.     Plaintiffls Latin supervisor VALENCIA discriminated between Plaintiff and her Latin co-

              10            worker Christina as Christina is still doing her job with PG&E.

        •     11                   34.     Plaintiff is informed and believes and thereon alleges that a reasonable person in Plaintiffs i

        .     12            circumstances would have considered the work environment as hostile or abusive. Plaintiff considered

              13           I the work environment to be hostile or abusive and unfavorable towards Plaintiff.

              14                   35.     Defendants committed the acts herein alleged maliciously, fraudulently, and oppressively

              15            with the wrongful intention of injuring Plaintiff arising from an improper and evil motive amounting to

                  16        malice and in conscious disregard of the rights of Plaintiff. Such conduct was also authorized and/or

                  17        ratified by agents, employees, and officers of PG&E.

                  18               36.     As a direct and proximate result of Defendants' willful, knowing, and intentional

                  19        Discrimination, Harassment, and Retaliation against Plaintiff, she has sustai'ned and continues to sustain

              20            substantial losses of earnings and other employment benefits.

                  21               37.     As a direct and proximate result of Defendants' willful, knowing, and intentional
                       ;
                  22 s~ Discrimination, Harassment, and Retaliation, Plaintiff has suffered and continues to suffer physical and
                       ~
                  23        mental pain, including distress, anxiety, anguish, humiliation, embanassment, emotional distress, and
                       y                                                                                                     .
                  24 i~ indignity, a11 to their damages in a sum according to proof at the trial.


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          1              38.     As a. direct and proximate result of Defendants' wilIful, knowing, and intentionai

         2        Discrimination, Flarassment, and Retaliation, Plaintiff seeks an award of punitive and exernplary damages

         3        to be determined at the trial.

         4               39.     Plaintiff has incurred and continues to, incur legal expenses and attorneys' fees. Pursuant

         5        to Government Code section 12965(b), Plaintiff is entitled to recover reasonable attorneys' fees and costs

          6       in an amount according to proof at the trial.

         7                                           SECOND' CAUSE' OF'ACTION .
         g                                 (Wrongful Termination in Violation of Public Policy)
         9                                        (Against'PG&E and DOES 1 to 50)

       10                40.     Plaintiff repeats, realleges, and incorporates by reference the paragraphs 125 with the

       11         same`force and effect as though fully set forth herein.

                      - 41. .    Piaintiff is informed and believes and thereon alleges that she was discharged from

              ! employment for reasons that violate a public policy.

              ~          42.     Plaintiff was an employee of PG&E and worked as a Customer Service Representative.
              {                                                                                                   .
              ' During Plaintifff's employment with PG&E, she performed her job in a competent, capable, satisfactory,
              i                                .

              ~ and/or exemplary manner. Nevertheless, Plaintiff was terminated by PG&E, and each of them, on or

         17 ` about March 4, 2022.

         18               43.     Despite the fact that Plaintiff received job information and training in English,

         19       VALENCIA frequently used Spanish during meetings and group chats, isolating a big group of people.

       20                 44.    VALENCIA also provided instructions in Spanish that only Spanish-speaking people

       21         could understand. Not everyone in the group knew the Spanish language.

       22                 45.     When Plaintiff pointed this issue to her supervisor VALENCIA, she didn't like it. After

       23         that, her supervisor stopped passing the customer compliments to her, and bepause of that, Plaintiff lost
                                                                            .                                         ,
         24       several customer compliments.

         25               46.     Even though Plaintiff was quite familiar with her work and did well in it, a mentor was

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               1        assigned to her and her Latin co-worker Christina. Subsequently, on March 4, 2022, PG&E terminated I

              2         Plaintiffl s employment without any specific reason, However, her Latin co-worker Christina is still doing

              3 I her job with PG&E.
                   :i
                   f
              4 ~              47.     Plaintiffs employment was tegninated just one.week before becoming a full member of

               5   ~I   IBEW. Plaintiff was paying IBEW's dues, -but in order to fully benefit from them, she needed eight

              6         months of inembership. However, because of Plaintiff's termination from PG&E, she was unable to

               7 , initiate any grievance procedures.            _

               8         48. . As a direct and proximate result of the Defendants' wrongful acts, Plaintiff suffered and
                ,1
              9 ! will continue.to sufl'er economic damages, including lost wages, lost benefits, and loss of promotional ~
                   i
              10 1      opportunity, in an amount to be determined at the time of trial.
                   ;
                   i
    •     11 :                 49.     As a direct and proximate result of Defendants' wrongful termination of Plaintiff s I
             `
    ,         12 i employment, she has suffered and continues to suffer physical and mental pain, including distress, anxiety, '
                 I
              13 ~ anguish, humiliation, embarrassment, emotional distress, and indignity, all to their damages in a sum
                  y
                 t
              14 ; according to proof at the trial.
                 ~
              15 i        50.     As a direct and proximate result. of Defendants' wrongful termination of Plaintif≥f's
                 ~
              16 j employment, Plaintiff seeks an award of punitive and exemplary damages to be determined at the trial.

              17               51.     Plaintiff has incurred and continues to incur legal expenses and attorneys' fees. Pursuant

              18 ,~     to Government Code section 12965(b), Plaintiff is entitled to recover reasonable attorneys' fees and costs
                   ;
              19        in an amount according to proof at the trial.

          20                                             THIRD CAUSE OF ACTION
          21               (Failure to Take Ali Reasonable and Necessary Steps to Prevent and Correct Discrimination,
          22                            Harassment, and Retaliation in violation of FEHA §§12940 et seq.)
          23                                           (Against PG&E and DOES 1 to 50)

              24                52.    Plaintiff repeats, realleges, and incorporate's by reference the paragraphs 1-25 with the

              25        same force and effect as though fully set forth herein.

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                 1               53.     Plaintif#'s supervisor VALENCIA frequently used Spanish during meetings and group

                 2        chats, thus isolating a big group of•people. However, the job information and training were provided to

                 3        Plaintiffin English.

                 4               54..    When•Plaintiff pointed tbis'issue to-her supervisor VALENCIA, she didn't like it. After

                 5        that, in retaliation, VALENCIA. stopped passing the customer complirrients to her, and because of that, I

                 6        Plaintiff lost several custonier compliments. On March 4, 2022, PG&E terminated Plaintiffs employment

                 7       Iwithout any specific reason.
.                    i
                     ~
                 8        ;      55.     Piaintiff, on information and belief, alleges- that PG&E knew or reasonably should have

                 9        known of the propensities of Defendant VALENCIA for engaging in unlawful, discriminating, harassing,

               10         and/or retaliatory conduct at the workplace. PG&E should have restrained its employee from engaging'

          -    11         in unlawful harassment and retaliation and should have provided training and instruction to its employee

          , 12            on the policies pertaining to discrimination, harassment, and retaliation.
                                                                    , _

               13                56.•    Cal. Gov. Code § 12940(j)(3) and (k) were in full force and effect and were binding on the

               14 ~ PG&E. These subsections require PG&E to take all reasonable steps necessary to prevent acts of

               15 ! discrimination, harassment, and retaliation, and to take immediate steps to investigate and correct such
                     I
               16 ; conduct when it has occurred.

               17                57. - As alleged above, PG&E, violated these subsections by failing to take reasonable steps
                     ~

                                                                                 retaliation from occurring and failed to take
               18         i necessary to prevent discrimination, harassment, and
               19         appropriate steps to investigate and correct the conduct once it occurred.

               20    ;
                                 58. .   Plaintiff is informed and believes and thereon alleges that PG&E failed to provide adequate

               21    '    training to its officers, agents, supervisors, managers, and/or employees.
                     ~
               22                59.     Defendant VALENCIA committed the acts herein alleged maliciously, fraudulently, and

               23         oppressively with the wrongful intention of injuring Plaintiff arising from an improper and evil motive

               24    ,    amounting to malice and in conscious disregard of the rights of Plaintiff: Such conduct was also
                      ~
    .                ~,                                                        io
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         J        authorized and/or ratified.by agents, employees, and/or officers of PG&E.

         2               60.     As a direct and proximate result of Defendants' willful, knowing, and intentional•

         3        harassment, discrimination, and retaliation, Plaintiff has suffered and continues to suffer physical and

         4        mental pain, including distress,Xxiety, anguish, humiliation, embarrassment, emotional distress, and

         5        indignity, all to their damages in a sum according to proof at the trial.

         6               61.     As a direct and proximate result of Defendants' willful, knowing, and intentional

         7        harassment, discrimination, and•retaliation, Plaintiff, seeks an award of punitive and exemplary damages

         8        to be determined at the trial.

         9               62.     Plaintiff has incurred and continues to incur legal expenses and attorneys' fees. Pursuant

       10         to Government Code section 12965(b), Plaintiff is entitled to recover reasonable attomeys' fees and costs

  -    11         in an amount according to proof at the trial.

  -    12 ~                                               FOURTH CAUSE OF ACTION
       13                                           (Intentional Infliction of Emotional Distress)
       14                                                     (Against All Defendants)

       15                63..    Plaintiff repeats, realleges, and incorporates by reference the paragraphs 1-25 with the
          1
          ~
       16 ~       same force and effect as though fully set forth herein.
          E
       17 j              64.     Plaintiff is informed and believes and thereon alleges that Defendants' conduct, and each

       lE         of them, caused her to suffer severe emotional distress.

        19                65.     Plaintiff's employment was terminated just one week before becoming a full member of

       20 iI IBEW. Plaintiff was paying IBEW's dues, but in order to fully benefit from them, she needed eight

       21         months of inembership. However, because of Plaintiffs tenmination from PG&E, she was unable to

       22         initiate any grievance procedures.

       23                 66.:    Defendants' conduct alleged hereto is extreme and outrageous when it exceeds all bounds

       24         of decency usually tolerated by a decent society and is of a nature that is specially calculated to cause and

       25         does cause mental distress.
              '                                 •              '          11
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         1                  67.      Behavior may be considered outrageous if Defendant (1) abuses a relation or position

         2   which gives him the power to damage Plaintiffs interest; (2) acts intentionaily or unreasonably with the
           !
         3 ~ recognition that the acts are likely to result in illness through mental distress.
             f

         4                  68.      Defendants' ~liscriminatory, harassing, and retaliatory actions against Plaintiff constituted   c



         5           severe and outrageous misconduct and caused Plaintiff extreme emotional distress.

         6                   69.     Plaintiff was subjected to the Defendants' willful, knowing, and intentional harassment, I

         7 i discrimination,.retaliation, and unlawful, conduot.

         8 ;         70.    California Courts have long held that the violations, like those at issue here, are extreme
           !
         9 'I and outrageous—harassment in the workplace is extreme and outrageous.

       10 !                  71.     As a direct and proximate result of Defendants' extreme and outrageous conduct, Plaintiff I

  -    11            has suffered and continues to sufll'er physical and mental pain, including distress, anxiety, anguish,
             !
  .    12 1          humiliation, embarrassment, emotional distress, and indignity, all to their damages in a sum according to

       13    ,.      proof at the trial.

       14 ;~                 72.     As a direct and proximate result of Defendants' extreme and outrageous conduct, Plainti.ff
                 ,
        15       i seeks an award of punitive and exemplary damages to be determined at the trial.

        16       ~           73.     As a direct and proximate result of the wrongful acts of Defendants, Plaintiff has been
                                                                                                       ,
        17    harmed, and in that, she has suffered actual, consequential, and incidental financial losses, including but
           ;i
        18 `~ not limited to loss of salary and benefits and the intangible loss of employment-related opportunities,
           ;z
        19 ' medical and other benefits in a sum to be detennined at the time of trial.
             ~i

                             74.     Defendants' misconduct was committed intentionally and in a malicious, fraudulent, and
                 ~

                     oppressive manner, which entitles Plaintiff to punitive damages. Plaintiff has incurred and will incur

                     attorney's fees and legal costs.in an amount according to proof at the time oftrial.

        20                                                  DEMAND FOR JURY TRIAL

        21       y           75.      Plairitiff hereby demands a trial by jury in this action.

                 !                                                           12
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                                                                 PRAYER FOR RELIEF

                            WHEREFORE, Plain'tiff LATASHA M. WINCE respectfuliy prays for relief against Defendants

                     as foliows:

                              (i)        For an award of compensatory damages in an amount to be determined at the time of trial;

                 I           (ii)        For an award of punitive and exemplary damages on each cause of action as permitted by

                                         law;

                            (ii i)       For an award• of reasonable attomey's fees and costs of the suit incurred herein;

                            (iv)         For' declaratory relief, inciuding entry of a judgment declaring that the acts and.practices

                                         of Defendants and their agents and employees as set forth herein violate the foregoing I
                                                                                                                                I
                 i                       provisions of law; '
                 i
                 ~
                 ~           (v)         For pre judgment and post judgment interests, at the legal rate; and
                 i
                 t          (vi)         For such other and further relief as the Court may deem just and proper.


            :k
             '                       •
      13 i! ` January 18, 2023                                                 Respectfuily submitted,
      14        i                                                              I. W OFFICES OF JEROME A. CLAY


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      16 ~
      17 i
      18




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                                          Exhibit "A"
                           Right-to-Sue Letter dated December 6, 2022




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    ~,                        STATE OF CALIFORNIA I Business, Consume' Sef vices ¢nd Houem p Agency                          GAVIN NEWSOM, GOVNOR
                                                                                                                                             ER

`Q                                                                                                                               KEVIN KISH, OIRECiOR
                              Civil Rights Department
• ~ti                 •       2218 Kausen Ddve, Suite 100 1 Etk Grove I CA 195758
                     ~Q       800•884•1684 (volce) 1 800•700-2320 (TTY) I Califomia's Relay Sefvice at 711
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                          .              . . •
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            December 6, 2022                                                                                                     :
        .                 o                     ~                                                                                ••       . '         •
                                                                                                                                                          U

            Jerome Clay
            5178 Nlowry Avenue, Suite 145
            Fremont, CA 94538

            RE: . Notice to-Complainant's Attorney
                  CRD flilatter Number: 202212-19056406
                  Right to Sue:-'Wince / PG&E

            Dear Jerome Clay:

            Attached is a copy of your complaint of discrimination filed with the Civil Rights
            Department (CRD) pursuant to the California Fair Employment and Housing Act,
            Government Code section 12900 et seq. Also attached is a copy of your Notice of Case
            Closure and Right to Sue.

            Pursaant to Government Code sectiion 12962, CRD wiU not serve these
            documents on the employer. You must serve the complaint separately, to all named
            respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
            information regarding filing a private lawsuit in the State of Califomia. A courtesy "Notice
            of Filing of Discrimination Complaint" is attached for your convenience.

            Be advised that the CRD does not review or edit the complaint form to ensure that it
            meets procedural or statutory requirements.

            Sincerely,

            Civil Rights Department




                                                                                                             CRD - ENF 80 R5 (Revised 10/22)
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         S DFpa                                                                                                           GAVIN NEWSOM, GOVERNOR
                           STATE OF CALIFORNIA I Businass• Consumai Sernces and Housmg Agency
                  ~f
                                                                                                                              KEVIN KISH, DIRECTOR
U                          Civii Rights Department
    1                  .   2218 Kausen Dnve, Suile 100 ( Elk Grove ( CA 195758
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r~                  Q      800•884•1684 (volce) I 800•700•2320 (TTY) I Call(omla•s Relay Service al 711
                   r`      calclvilrighLs.ca.gov I conlact cenler@dteh ca gov
    91~OF C AL~~~Q

        December"6, 2022

        RE::° ~, 'otice of Filing of Discrimination Complaint
              CRD Matter Number: 202212-19056406
              Fight to Sue: V1/ince / PG&E

        To AII- Respondent(s):

        Cnclosed is a copy of'a complaint of discrimination that has been fiied' with the Civil ='
        Rights I?epartment (CRD)) in accordance with Government Code section '12960. Tiiis
        constitu,~s s?rvice of the compiaint pursuant to Government Code section 12962. The
        complaina!-,! has requested an authorization to file a lawsuit. A copy of the Notice of
        Case Closure and Right to Sue is enclosed for your records.

        This matter may quaiify for CRD's Small Employer Family Leave Mediation Pilot
        f'rogram. (...!nder this program, estabiished under Government Code section
        •.2945.•- l ,~ small empioyer with 5-19 employees, charged with violation of the
        Califor- ;-rimily Rights Act, Government Code section 12945.2, has the right to
        particip:: ~, :• , CZD's free mediation program. Under this program both the
        emplo; >- quasting an immediate right to sue and the employer charged with
        the violr:tion may request that all parties participate in CRD's free mediation
        prograr:,. 7-he empioyee is required to contact the Department's Dispute
        Resoluf",r? Division prior to tiling a civil action and must aiso indicate whether
          ey ar - c=lo>~ting mediation. The empioyee is prohibited from fiiing a civil
        action              the Department does not initiate mediation within the time period
        Gpecif           = -~c`ion 12945.21, subdivision (b) (4), or untii the mediation is
        cornpl ;              ~a =.insuccessful. The empioyee's statute of limitations to fie a civil
        ~ction,            jding for all related claims not arising under section 12945.2, is•tolied
        f:•om ir,           te the employee contacts the Department regarding the intent to
        c-ursue              ' acfion until the mediation is compiete or is unsuccessful. You may
           ~ntac                 =mall Employer Family Leave Mediation Pilot Program by
                             :)t~nIinerequests@dfeh.ca.gov and include the CRD matter number
        i:vicG'                  i-, Right to Sue notice.


        f'leas~             r to the attached complaint for a list of all respondent(s) and their contact

                             1
        ?-'^ re:=                ic, CRD is requested or required.




                                                                                                          CRD - ENF 80 RS (Revised 10//22)
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        , .D ~ p q,~
    ~~G~1S                   sTAiE OF CALIFORNIA i Bucinesc, Contamer Ser vicea and Hou6mg Agency                              GAVIN NEWSOM, GOVERNOR
              ......':
    v                                                                                                                              KEVIN KISH, DIRECTOR
'
V
                         f   ;:ivil Rights Department
• ~           ~_,< <`         ' 18 Kausen Drive, 3uite 100 1 Elk Grove I CA 195758
 v                  ~           ; nBd • i G84 (voice) { 80a700-2320 (TTY) I Cahlomla•s Relay Semce at 711
                                 JYNrlyhts ca gov i canlact center@dleA ca gov
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         'Civil




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                    Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 28 of 71

            ~G~js   bFp4A       STATE OF CALIFORNIA      I   Bus;neas. Con¢omer Serncea and Hoocmg Agency                       GAVIN NEWSOId, GOVERNOR
        Q            .   l
    j                 ~~~,,jn                                                                                                       KEVIN KISH. DIRECTOR
                                Civil Rights Department
    .~ ~~      !~ •             2218 Kausen Drive, Suite 100 ( Elk Grove I CA 195758
        ~                       300-884-1fi84 (vofce) I B00-700-2320 (TTY) I Calitomla•s Relay Service at 711
        ... •~~;`               caicivnngnts ca gov ( contact center@tlfen ca.gov
              ~F cAl~t


              December r, 2022
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              S::                ^ 05209

              RE:        No!.' ~e of Case Closure and Right to Sue
                         C4'      -ttet Number: 202212-19056406
        :                  c- ; .o Sue: Wince / PG&E                                                                .

                                      i,:1. Wince:

                                              you that the above-referenced complaint filed with the Civii Rights
              De         ,:re: ;CRD) has been closed effective December 6, 2022 because an immediate
              Riciit tc `          nc:;ice was requested.

                                     i-o your Right to Sue notice. According to Government Code section
                                        .ion (b), a civil action may be brought under the provisions of the Fair
                                         d Housing Act against the person, employer, labor organization or
                                   -i - Pncy named in the above-referenced complaint. The civil action must be
              1:                    ~; ear from the date of this letter.

              T:                            qualify for CRD's Small Employer Family Leave Mediation Pilot
              F -~                          this program, established under Government Code section
                                        - =i11 employer with 5-19 employees, charged with violation of the
                                             Rights Act, Government Code section 12945.2, has the right to
                                            D's free mediation program. Under this program both the
              :                                r1g an immediate right to sue and the employer charged with
               t                    :        request that all parties participate in CRD's free mediation
                                        ployee is required to contact the Department's Dispute
               R:~so' _jtior- ,;.:ion prior to filing a civil action and must also indicate whether
               ti                :°:ng mediation. The employee is prohibited from filing a civil
               ^     ;            t; Department does not initiate mediation within the time period
                                      ~)n 12945.21, subdivision (b) (4), or until the mediation is
                                      ; :- uccessful. The employee's statute of limitations to f(ie a civil
               ~                       :-~-,r all related claims not arising under section 12945.2, is tolied
               f                         ernployee contacts the Department regarding the intent to
               ;: t..:e le            on until the mediation is complete or is unsuccessful..Contact •
               {:;7'   r:          - -r?loyerFamily Leave Mediation Pilot Program by emailing




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              Q~G~•'   .   •.   ,   ! r nr CALIFORNIA ) Busmess, Concumer Sorvicea and Housma Aqency                                      GAVIN NEWSOAI, GOVERNOR

                                                                                                                                              KEVIN KISH, OIRECTOR
                                           ;ights Department
         • ~ ~:'                              en Dnve, Smle 100 1 Elk Grove ) CA ) 95758
          v~                         cE    ' S8a (volce) I 800•700•2320 (TTY) I Cahfomia•s Relay Service al 711
                                    iv,i     .Is.ca gov I conlact center@dfeh.ca gov
    •          FL;     .                                                                                          •         .                    .



                                    c,"nsts@dfeh.ca.gov and include the'CRD matter number indicated
                 {                      .le notice.
o       • '                                                                                                           b           '                  •




                                         =1 Right to Sue notice, you must contact the U.S. Equal Employment
                                        rnission (EEOC) to file a complaint within 30 days of receipt of this
                 ~                  ;~ _aise Closure or within 300 days of the'alleged discriminatory act, .




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                               Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 30 of 71




             1!                                          COMPLAINT OF EMPLOYMENT DISCRIMINATION
               I                                               BEFORE THE STATE OF CALIFORNIA
             2 ~                                                       Civil Rights Department
             3 `                                       Under the California Fair Employ,ment and Housing Act
               ~                                                   (Gov. Code, § 12900 et seq.) ..

'            4  ~~ <<•. 4'' t' - cS the Complaint of
             5~''       I)a t•. . ;'~~ince                                                            ~        CRD No. 202212-19056406
                                              ,
               4;                                         .                                               •               -
            •6                               Complainant,
        :         vs.
             7
                    ; PG&.F_
                                                                                                                                     :
             8     ?i    P.r)_ P.C?K 9`? i 307
                                                                                           .      •                  ' •• .
    "        ~ l~..         - :,r r'   .   .        , ~, .   nF899                                        ..

            10 ;                                                         Respondents

            11 I
                   I
            12 ' 1.
                    Rasnonc+ent Pf'&E is an employer subject to suit under the Califomia Fair Employment and
            13          '"                 1'        -'- "} (Gov. Code, § 12900 et seq.).

            14
            15 j,, 2. Complai: •'~~ i t Latasha M. Wince,
                                                      .,
                                                          resides in the City of Stockton, State of CA.
            16
                        7. Cornnl i~~3nt
                                    ~ n!'^ges that on or about March 4, 2022, respondent took the
            17          ,. : ;., .                   ,; . . ~;ctions:

            18          7                       :was harassed because of complainant's race.
              c
              '' ^Q,                           -`            ;!;scriminated against because of complainant's race and as a result of
            20          ;;e discriR-: ::;ion was terminated.

            21          ^"`'`"' `''                  e-•.n~r;-ncedretaliation because complalnant reported ar resi'sted any form
                                                     }, .     ,•= -assment and as a result was terminated.
            22.

            2:                                      -~rnp;aEnt Detaifs: In July 2021, Complainant, Latasha M. Wince, started her
                                                        a^G~E as a Customer Service Representative. Complainant's
            2 el                           s i.. d answering calls, creating tickets, sending out texts, and advising of
                        :-:,counts:. ,. .is. Complainant was paid on an hourly basis. She worked 40 hours a week
            25
            2t'                                                                          -1-
                                                                                 •- CRD No. 2022i2-
            2,
                                                               R. 2022
            2"
                                                                                                                   CRD-ENF 80 RS (Revised 10/22)
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                              overtime too. She did her job very well and used to get good
              I'    'ron•:      customers.
 2
                    ;vas raciaiiy discriminated against by her Latin supenrisor Janae Valencia.
   i Janae Vale .:;a f: oquentiy used Spanish during.meetings and gt-oiap chats, thus isoiating a
 31~ bia grot.ip C ~~ople. Not everyone in the group knew the Spanish language. When
 4 " Cc~mp!~~in::; . poir;ted this issue to her supervisor Janae Valencia, she didn't like it. After
     !hat., h(;~; s~ ~:: ervisor stopped passing the customer coY~npliments to her, and because of that,
 5                  lost Fe~~eral customer compliments. Complainant had a lot of good reviews
                                      when she worked under her previous manager.

 7        ~-        wac ~-,r-nachedby Janae Valencia and asked about her experience as a
      ~pervi~o~ .     n      V~~t~ncia then told Complainant that she needed a mentor. Even though
          Comn!:      ,      as cluite familiar with her work•and did weil in'it, a mentor was assigned to
                            rnnntor expressed to her that they didn't know why they had been called
                                was doing a good job. 7he sanie thing happened with Complainant's
      -       c     nr f: rl,,°;na as she was also given a mentor.
10
                             .'- -nplainant was terminated from her job without any specific reason,
11                  is         '- ng her job with PG&E. Complainant tried hard to flnd a job in the past
                                   ot find it. Now, Complainant is jobless. As a resuit of PG&E'S
12                             t ction against Complainant, she has suffered and will suffer a loss of
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2                                                         -2-
                                                  - CRD No. 202212-19056406
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          c                    6, 2022
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                                                                                    CRD-ENF 80 RS (Revised 10/22)
               Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 32 of 71




     1 JI VERIFfCA- ' 0t\!
       II
     2 ~~!, 3ern~~~       :'.-,-~y Clay, Jr., am the'Attorney in the above-entitled complaint. I have
     3       ~ad t' ~`   r~~ 9 complaint and know the contents thereof. The matters alleged are
            ;ased -':n         "~ion and belief, which I believe to be true.
     4
            On Decem' .       ~ 022, 1 declare under penelty hf perjury'under the laws of the State
     5! of Caff^rr:           the foregoing is true and correct.                  :

     6 '                                                                          Fremont, California
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                                           Complaint -- CRD IVo. 202212-1
    21 ~
            Date Filod: D..:mber 6, 2022
    28 ;
                                                                                      CRD-ENF 80 RS (Revised 10Y22)
Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 33 of 71




                              Exhibit "B"
                            Compliment Forms
                                                        Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 34 of 71




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                                                          `.T"VE DISPUTE RESOLUTION
                                                             ' :MATION PACKAGE
Re -                _                            ;n!ved without the time and expense of traditional civil litigation, the
Su;-                                  ~, :;ra nento (Sacramento County Superior Court), strongly encourages parties in
civil                       ea   : uie use of Alternative Dispute Resolution.

wha'                             , sr,±•.t;: r f


Alte;i                                          !I,p r'rneral term applied to a wide variety of dispute resolution processes which
are                                             !'       _: - es include:

•                                                            : judging                       •   Mini-trials
•                                                         ~utral evaluation                  •   Negotiation and hybrids of these
.                                                                                                processes

AII A`                                 ro,                alternative to traditional court litigation for resolving disputes. At the present
time.                                                     :ers Mediation and Arbitration.

V.',

                                                    C`     aui!ional court litigation.

     *,                                  comr•~!:;<. case, a dispute can be resolved through ADR in a matter of months or
                                      I .dc:-:rs.

    ~                                 ,',       •        nr",or settlements, ADR can save parties and courts money that might
                                                                   fees and court expenses.)

     *                                                         ;:ave more opportunity with ADR to express their own interests and
                                                          -:,y .,1 the parties' legal rights and responsibilities.

     ~                                      I;=           i1.y. Parties can choose the ADR process most appropriate for their
                                                           IIieir particular needs.

                                                                  satisfaction. ADR encourages cooperation and communication, while
                                       no                        i in iiligation. Surveys of disputants who have gone through ADR have
                                      - i:-               ..%,   gh, especially among those with extensive ADR experience.

Arr,

Allh~         gh                 r,                        ? nrocesses, the types most commonly used to resolve disputes in
CaG           nia                                            ! n. 1 Iie Sacramento County Superior Court currently offers pre-
scrc                                                           , each of the following areas.

                                       'de                     °-A by the parties, makes legal rulings, determines facts and makes an
Arbi .                                  ;                        ;d as judgments in accordance with the agreement of the parties or,
wlie-                                                           :alifc n nia statutes. Arbitration can be binding if the parties so agree in
wri;:                                                      arty can reject the Arbitration award and request a trial.




                                            ✓                    isp,.:'•e Resolution Information Package
    Cv' `—""                                                                                                       Page 1 of 3
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    .            ~               Case 2:23-cv-00385-MCE-JDP Document 1 Court
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                                                                                                                             Case Management
      ra-
Mediatio;,. Medi~!;c-:                       vr'-n'nry, in:form~l, confidential process in which the Mediator, a neutral third party, facilitates
                                                                 ,s c ;mm ~jnication by and among the parties, helps parties clarify facts,
iden!ify i......                                       nI.:!          :3 mutually acceptable resolution of the dispute.

Liliniints ~ ; e encr,, rU;                            /',DR ;~ :ass as early in the case as circumstances permit. AII appropriate cases will
be reviewed for re errr                       .: R at the Case Management Conference(CMC).


                                              .^ "t? Procer', --es fer the Sacramento County Superior Court
Upon fi!inr~ a c•omnl,-ir, '                             r!..               p: ,!;t;;;;ross-complainant must acquire this information package from the
CoL..''s                                                                        S-erior Court Clerk. Plaintiff is required to include the ADR
Infor n;                                                                   :    w ;iaint on the Defendant.

The r:o- r'. '~U! .                    r',                      o,        at : ltp://www.saccourt.ca.gov or may be obtained at the Civil Filing
Counter a, ;he G                      .c,            ~,.r :;;icr.., c: ,lo C._Lrnty Courthouse, 720 Ninth Street, Room 101, Sacramento, CA
95814.

Med;2lin ,1.
F.il pz.i'i:e !o :!le di<<;w                         ~~~~'i';~ri!v a^-nr: to s'f)mit the case to a neutral Mediator, either through a court-
appoil",         ;:„,. .                                                          rties may choose either of the following Mediation choices:

                                                         s o-              r:!;  nqree to mediate their dispute with a Mediator of their choice
                               ;                                           v1r- .:on must be borne by the parties equally unless the parties
                     ~,. .":., -                         ~;,. k•: :        ed i a!riount as set by the Mediator (refer to the ADR Panel List
                     for Xirrc:n        !

                                                                           th(' p-,)r!ies, a Mediator and alternate Mediator will be selected from
                                 !                                                     List). The court will confirm the selected Mediator and


                                                                       ~            ng the parties to confirm a date, time, and place for
                                                                                      ADR Panel List have agreed to provide up to three (3)
                                                      t..                  c,: .; Mediation extends beyond 3 hours and parties determine it
                                                                 ti,   I~_d4-j;ion process; the parties will independently be responsible for
                     ;•l.. ni•1: ,            !cr'     ; ,r i;i. ~n     ,, irl! ;)s set by the Mediator.


 UNLI A
             .                                                                    :ed Civil Cases, Form CV\E-MED-179 (see attached) may be filed
                                                                                 :~Iys prior to the Case Management Conference.

                                                                                 ,r to their CMC, they may indicate their willingness to stipulate to
                                                                                 r,iust submit a Stipulation and Order to Mediation — Unlimited Civi!
             •            ; ,.

                                                                                  Case Management Statement.

 LIMITE'-~
             .                                                                    ~te Mediation without notification to the Court.

             •       Parties m iy sl          ~ io courl niea;ation by !iiing a Stipulation and Order to Arbitration/Mediation - Limited Civil
                     Cases                         nt any'in-v after t'lr filing of the Limited Civil Case Status Memorandum form (CV\E-202).
                     This i•,r:, i                   2 co. .'- ;!)sil:: _:.' ttp://www.saccourt.ca.gov. A Stipulation and Order to
                                                                   sr:• :!; !ST be filed concurrently or subsequent to a Limited Civil Case
                     ~•    : , , :,•~.. ~




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                                                                                                        Case Management




Arbitrati-
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                                   r`<rties may stipuls0e, or the judge may Order the case to Arbitration. Parties will be asked
         t        ::, ~,,.'    ., a rc ti ume a, .:rnale rbitrators from the court's ADR Panel List. The court will send a
         ;         ,,t .' ,.        C." .~„i .,pi:ro~~ial; rderto Arbitration to all parties.

    •    A.   .itim-; =:-      ':.:d t_.r~•umi        Cc: rornia Rules of Court, rules 3.810 through 3.830, and Local Rules
         C.: r;r .":, :' :         ss oth , v~1. ~:',ipL• =,led, an Award of Arbitrator is not binding upon the parties provided
         t;  ;Ipy f'              ~ques! )r i:~ De ;!ovo pursuant to California Rules of Court, rule 3.826. Upon the filing
         c.                           al De N'. r., ;hr: ;.)se will proceed to a Trial-Setting Conference. If no timely Request
                  .               d, ;Uc!a,c a, .!o- ef' ;:pon the Award of Arbitrator will be entered pursuant to California


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Arbitratio.                               c:-i;,-t-, nIer , following circumstances:
    •    k.,                        a l:      i,'      ,1  ';Llant to Code of Civil Procedure section 1141.12. A stipulation for
         f                           sin :,.                  I form, Stipulation and Order to Arbitration/Mediation — Limited Civil
         !.                          ~; ,,                _)rder to Arbitration/Mediation — Limited Civil Cases MUST be filed
                                                       !     Case Status Memorandum form (CV\E-202).

                                                         '::ial arbitration. A written election by the plaintiff to submit an action or
                                                            the Court's local form, Limited Civil Case Status Memorandum form


Additior
For add:                            :       C'    ';^     nrogram, please go to the Court's website
http://w,:              ~




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CV\E-10( .',. , v"'.U•I.                                                                                    Page 3 of 3
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              Exhibit “B”
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 40 of 71


                     1    Ryan L. Eddings, Bar No. 256519
                          reddings@littler.com
                     2    Julie R. Campos, Bar No. 314063
                          jcampos@littler.com
                     3    LITTLER MENDELSON, P.C.
                          5200 North Palm Avenue
                     4    Suite 302
                          Fresno, California 93704.2225
                     5    Telephone:     559.244.7500
                          Fax No.:       559.244.7525
                     6
                          Attorneys for Defendant
                     7    PACIFIC GAS AND ELECTRIC COMPANY

                     8
                                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     9
                                                           COUNTY OF SACRAMENTO
                   10

                   11
                          LATASHA M. WINCE, an individual,                     Case No. 34-2023-00333155-CU-WT-GDS
                   12
                                            Plaintiff,                        DEFENDANT PACIFIC GAS AND
                   13                                                         ELECTRIC COMPANY'S ANSWER TO
                                 v.                                           PLAINTIFF'S COMPLAINT
                   14
                          PACIFIC GAS and ELECTRIC COMPANY, a
                   15     California corporation; JANAE VALENCIA, an
                          individual; and DOES 1 through 50, inclusive,
                   16                                                          Department 38
                                            Defendants.                        Trial Date: TBD
                   17                                                          Complaint Filed: January 18, 2023

                   18

                   19                    Defendant PACIFIC GAS AND ELECTRIC COMPANY (“Defendant”),

                   20     answering the Complaint of Plaintiff LATASHA M. WINCE, an individual (“Plaintiff”), for itself

                   21     alone and for no other Defendants, hereby answers Plaintiff’s unverified Complaint (the

                   22     “Complaint”) as follows:

                   23                                           GENERAL DENIAL

                   24                    Pursuant to the provisions of the California Code of Civil Procedure section

                   25     431.30(d), Defendant denies generally and specifically each and every allegation contained in the

                   26     Complaint. In addition, Defendant denies that Plaintiff has sustained, or will sustain, any loss or

                   27     damage in the manner or amount alleged, or otherwise, by reason of any act or omission, or any

                   28     other conduct or absence thereof on the part of said Defendant.
 LITTLER MENDELSON,
         P.C.
5200 North Palm A venue                                                   1
       Suite 302
Fresno, CA 93704.2225        DEFENDANT PACIFIC GAS AND ELECTRIC COMPANY'S ANSWER TO PLAINTIFF'S COMPLAINT
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                     1                                       AFFIRMATIVE DEFENSES

                     2                    Without altering, waiving or excusing the burden of proof of Plaintiff, or admitting

                     3    that Defendant has any burden of proof or persuasion, and incorporating herein by reference each

                     4    and every allegation made in the General Denial, Defendant asserts the following affirmative

                     5    defenses. Defendant does not presently know all the facts concerning the conduct of Plaintiff

                     6    sufficient to state all affirmative defenses at this time. Defendant is informed and believes that a

                     7    reasonable opportunity for investigation and discovery will reveal facts in support of the following:

                     8                                    FIRST AFFIRMATIVE DEFENSE

                     9                    1.      As a separate and distinct affirmative defense, Defendant alleges that the

                   10     Complaint and each cause of action set forth therein fail to state facts sufficient to constitute a cause

                   11     of action upon which relief can be granted.

                   12                                   SECOND AFFIRMATIVE DEFENSE

                   13                     2.      As a separate and distinct affirmative defense, Defendant alleges that the

                   14     Complaint and each cause of action set forth therein are barred by the doctrine of unclean hands.

                   15                                    THIRD AFFIRMATIVE DEFENSE

                   16                     3.      As a separate and distinct affirmative defense, Defendant alleges that the

                   17     Complaint and each cause of action set forth therein are barred by the doctrine of waiver.

                   18                                   FOURTH AFFIRMATIVE DEFENSE

                   19                     4.      As a separate and distinct affirmative defense, Defendant alleges that the

                   20     Complaint and each cause of action set forth therein are barred by the doctrine of estoppel.

                   21                                     FIFTH AFFIRMATIVE DEFENSE

                   22                     5.      As a separate and distinct affirmative defense, Defendant alleges that the

                   23     Complaint and each cause of action set forth therein are barred by the doctrine of laches.

                   24                                    SIXTH AFFIRMATIVE DEFENSE

                   25                     6.      As a separate and distinct affirmative defense, Defendant alleges that the

                   26     Complaint and each cause of action set forth therein are barred by the doctrine of consent.

                   27                                  SEVENTH AFFIRMATIVE DEFENSE

                   28                     7.       As a separate and distinct affirmative defense, Defendant alleges that to the
 LITTLER MENDELSON,
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    Attorneys at Law                                                         2
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                     1    extent further investigation and discovery reveal any after-acquired evidence that bars all or certain

                     2    remedies in this action, the Complaint and each cause of action set forth therein cannot be

                     3    maintained against Defendant, and/or Plaintiff is barred from recovering damages or any other

                     4    remedy by reason of such after-acquired evidence.

                     5                                  EIGHTH AFFIRMATIVE DEFENSE

                     6                    8.      As a separate and distinct affirmative defense, Defendant alleges that

                     7    Plaintiff failed to take a reasonable affirmative action to mitigate Plaintiff’s damages as they are

                     8    alleged in the Complaint, and thus Plaintiff’s recovery from Defendant, if any, must be denied or

                     9    reduced to the extent that Plaintiff has failed to mitigate Plaintiff’s damages.

                   10                                    NINTH AFFIRMATIVE DEFENSE

                   11                     9.     As a separate and distinct affirmative defense, Defendant alleges that any

                   12     recovery to which Plaintiff might other be entitled must be denied or reduced by reason of

                   13     Plaintiff’s contributory or comparative negligence and/or intentional conduct, because Plaintiff

                   14     failed to exercise reasonable and ordinary care, caution or prudence in order to avoid the alleged

                   15     incidents, and the alleged injuries and damages, if any, were proximately caused and/or contributed

                   16     to by Plaintiff’s own negligence and/or intentional conduct.

                   17                                   TENTH AFFIRMATIVE DEFENSE

                   18                     10.    As a separate and distinct affirmative defense, Defendant alleges that the

                   19     Complaint and each cause of action set forth therein are barred, in whole or in part, because the

                   20     alleged damages or losses sustained by Plaintiff, if any, resulted from causes other than any act or

                   21     omission on the part of Defendant, including but not limited to, negligence and/or intentional

                   22     conduct and/or omissions of third parties and/or entities.

                   23                                 ELEVENTH AFFIRMATIVE DEFENSE

                   24                     11.    As a separate and distinct affirmative defense, Defendant alleges that

                   25     Plaintiff’s claims for damages are barred, in whole or in part, by the doctrine of avoidable

                   26     consequences.

                   27                                 TWELFTH AFFIRMATIVE DEFENSE

                   28                     12.    As a separate and distinct affirmative defense, Defendant is informed and
 LITTLER MENDELSON,
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     559.244.7500
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                     1    believes that a reasonable opportunity for investigation and discovery will reveal, and on that basis

                     2    alleges, that Plaintiff’s claims are barred by Plaintiff’s own breach of the duties owed to Defendant

                     3    under all applicable state and federal laws, including, but not limited to, California Labor Code

                     4    sections 2854, 2856, 2858, and/or 2859.

                     5                              THIRTEENTH AFFIRMATIVE DEFENSE

                     6                   13.     As a separate and distinct affirmative defense, Defendant alleges that the

                     7    Complaint and each cause of action set forth therein are barred, in whole or in part, because, even

                     8    if any discriminatory, retaliatory or otherwise unlawful motive existed in connection with any

                     9    actions taken with respect to Plaintiff (which Defendant denies), Defendant would have engaged in

                   10     the same conduct absent any alleged discriminatory, retaliatory or otherwise unlawful motive.

                   11                              FOURTEENTH AFFIRMATIVE DEFENSE

                   12                    14.     As a separate and distinct affirmative defense, Defendant alleges that any

                   13     employment practice maintained by Defendant, to the extent such practice may have impacted

                   14     Plaintiff with respect to any alleged protected status under the Fair Employment and Housing Act,

                   15     is justified either as a bona fide occupational qualification, by business necessity (including undue

                   16     hardship), by job relatedness, by security regulations, by non-discrimination or affirmative action

                   17     plans and/or by requirement of law.

                   18                                FIFTEENTH AFFIRMATIVE DEFENSE

                   19                    15.     As a separate and distinct affirmative defense, Defendant alleges, without

                   20     admitting that Defendant engaged in any of the acts or omissions alleged in the Complaint, that any

                   21     such acts or omissions purportedly taken by or on behalf of Defendant were taken in good faith as

                   22     a result of business necessity, for lawful, legitimate, non-discriminatory, and non-retaliatory

                   23     reasons without malice, oppression, or fraud, and/or based on the relevant facts and circumstances

                   24     known to Defendant at the time they acted.

                   25                                SIXTEENTH AFFIRMATIVE DEFENSE

                   26                    16.     As a separate and distinct affirmative defense, Defendant alleges that the

                   27     Complaint and each cause of action set forth therein are barred, in whole or in part, because

                   28     Defendant acted reasonably in good faith, in conformity with and in reliance on written
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                     1    administrative regulations, orders, rulings, guidelines, approvals, and/or interpretations of

                     2    governmental agencies, and on the basis of a good-faith and reasonable belief that Defendant had

                     3    complied fully with applicable law.

                     4                             SEVENTEENTH AFFIRMATIVE DEFENSE

                     5                   17.     As a separate and distinct affirmative defense, Defendant alleges that the

                     6    Complaint and each cause of action set forth therein cannot be maintained against Defendant

                     7    because Defendant’s acts or omissions alleged in the Complaint were protected by the managerial

                     8    privilege as all actions taken with respect to Plaintiff’s employment were undertaken and exercised

                     9    with proper managerial discretion in good faith, and for legitimate, lawful reasons.

                   10                                EIGHTEENTH AFFIRMATIVE DEFENSE

                   11                    18.     As a separate and distinct affirmative defense, Defendant alleges that any

                   12     unlawful or wrongful acts, if any, taken by Defendant’s officers, directors, managing agents, and/or

                   13     employees were outside the course and scope of their employment and authority, and such acts, if

                   14     any, were not authorized, ratified, or condoned by Defendant, and Defendant did not know and/or

                   15     should not have known of such conduct.

                   16                                NINETEENTH AFFIRMATIVE DEFENSE

                   17                    19.     As a separate and distinct affirmative defense, Defendant alleges that the

                   18     Complaint and each cause of action set forth therein are barred by Plaintiff’s failure to exhaust all

                   19     internal grievance and/or complaint procedures.

                   20                                TWENTIETH AFFIRMATIVE DEFENSE

                   21                    20.     As a separate and distinct affirmative defense, Defendant alleges that the

                   22     Complaint and each cause of action set forth therein are barred by Plaintiff’s failure to exhaust

                   23     administrative remedies.

                   24                             TWENTY-FIRST AFFIRMATIVE DEFENSE

                   25                    21.     As a separate and distinct affirmative defense, Defendant alleges that the

                   26     Complaint and each cause of action set forth therein are barred, in whole or in part, to the extent

                   27     that they exceed the scope of the charges made by Plaintiff before the California Department of

                   28     Fair Employment and Housing and/or the Equal Employment Opportunity Commission, if any.
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                     1                           TWENTY-SECOND AFFIRMATIVE DEFENSE

                     2                   22.     As a separate and distinct affirmative defense, Defendant alleges that the

                     3    Complaint and each cause of action set forth therein cannot be maintained against Defendant

                     4    because Plaintiff’s claims are barred by the applicable statutes of limitations, including but not

                     5    limited to those set forth in California Government Code sections 12960 and 12965 and California

                     6    Code of Civil Procedure sections 335.1, 338(a), 339(1), and 340(c).

                     7                            TWENTY-THIRD AFFIRMATIVE DEFENSE

                     8                   23.     As a separate and distinct affirmative defense, Defendant alleges that the

                     9    Complaint and each cause of action set forth therein seeking recovery for the alleged physical,

                   10     mental, and/or emotional distress injuries are preempted and barred by the exclusive remedy

                   11     provisions of the California Workers’ Compensation Act, California Labor Code section 3600, et

                   12     seq., and California Labor Code section 132(a) to the extent that (a) an employee/employer

                   13     relationship existed subject to workers’ compensation coverage; (b) Defendant provided workers’

                   14     compensation insurance at no cost to Plaintiff; (c) Plaintiff’s conduct was within the course and

                   15     scope of Plaintiff’s employment; and, (d) the alleged injuries, if any, were proximately caused by

                   16     the employment, and accordingly, this Court lacks subject matter jurisdiction over said claims.

                   17                            TWENTY-FOURTH AFFIRMATIVE DEFENSE

                   18                    24.      As a separate and distinct affirmative defense, Defendant alleges that the

                   19     Complaint and each cause of action set forth therein are barred, in whole or in part, because at all

                   20     relevant times: (a) Defendant acted in good faith and exercised reasonable care to prevent and

                   21     promptly correct any discriminatory, retaliatory, or otherwise unlawful behavior (which Defendant

                   22     denies occurred), including but not limited to promulgating and maintaining anti-discrimination,

                   23     anti-retaliation and/or open-door policies with an internal grievance and/or complaint procedure,

                   24     which were communicated to Plaintiff; (b) Plaintiff unreasonably failed to take advantage of the

                   25     established internal grievance and/or complaint procedure and any preventive or corrective

                   26     opportunities provided by the employer or to otherwise avoid harm; and, (c) Plaintiff’s reasonable

                   27     use of Defendant’s procedures as required by Defendant’s employment policies would have

                   28     prevented at least some, if not all, of the purported harm that Plaintiff allegedly suffered.
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                     1                             TWENTY-FIFTH AFFIRMATIVE DEFENSE

                     2                   25.     Defendant alleges that some or all of Plaintiff’s claims for damages are

                     3    barred by the doctrine of set-off.

                     4                             TWENTY-SIXTH AFFIRMATIVE DEFENSE

                     5                   26.     As a separate and distinct affirmative defense, Defendant alleges that any

                     6    recovery to which Plaintiff might otherwise allegedly be entitled must be offset, denied, or reduced

                     7    by any benefits, monies, and/or compensations that Plaintiff had received or will receive from any

                     8    other sources, including but not limited to unemployment insurance, private insurance, pension

                     9    benefits, workers’ compensation, and any sums earned by Plaintiff in other employment.

                   10                           TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                   11                    27.     As a separate and distinct affirmative defense, Defendant alleges that

                   12     Plaintiff has failed to state a claim upon which relief may be granted, which includes, inter alia,

                   13     recovery of costs of suit and attorneys’ fees, penalties, compensatory damages, punitive damages,

                   14     and special and incidental damages.

                   15                            TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                   16                    28.     As a separate and distinct affirmative defense, Defendant alleges that

                   17     Plaintiff is not entitled to recover punitive, exemplary, and/or emotional distress damages on the

                   18     grounds that any award of punitive, exemplary, or emotional distress damages under California law

                   19     in general, and/or as applied to the facts of this specific action, violates Defendant’s constitutional

                   20     rights under provisions of the United States and California Constitutions, including but not limited

                   21     to the equal protection and due process clauses of the Fifth and Fourteenth Amendments of the

                   22     United States Constitution, the excessive fines and cruel and unusual punishment clauses of the

                   23     Eighth Amendment of the United States Constitution, and Article I, Sections 7 and 17 and Article

                   24     IV, Section 16 of the California Constitution.

                   25                             TWENTY-NINTH AFFIRMATIVE DEFENSE

                   26                    29.     As a separate and distinct affirmative defense, Defendant alleges that

                   27     Plaintiff is precluded from recovering punitive damages from Defendant, because: (a) any actions,

                   28     conducts, statements, or omissions alleged in the Complaint were not taken with advance
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                     1    knowledge, conscious disregard, authorization, or ratification of malice, oppression, or fraud on the

                     2    part of Defendant or any officer, director, or managing agent thereof; (b) Defendant’s good faith

                     3    efforts to prevent discrimination, retaliation, and otherwise unlawful behavior bars any award of

                     4    punitive damages; and, (c) the Complaint and each cause of action set forth therein fail to plead

                     5    facts sufficient to support the recovery of punitive damages under the applicable provisions of

                     6    California Civil Code section 3294, or such other statutes of similar effect that may be applicable.

                     7    (See Cal. Civ. Code § 3294(b).)

                     8                                THIRTIETH AFFIRMATIVE DEFENSE

                     9                   30.     As a separate and distinct affirmative defense, Defendant alleges that the

                   10     Complaint and each cause of action set forth therein cannot be maintained against Defendant

                   11     because Plaintiff was an at-will employee at all relevant times, with no entitlement to continued

                   12     employment.

                   13                               THIRTY-FIRST AFFIRMATIVE DEFENSE

                   14                    31.     As a separate and distinct affirmative defense, Defendant is informed and

                   15     believe that further investigation and discovery will reveal, and on that basis allege, that Plaintiff’s

                   16     claims are barred by her failure to comply with the terms, conditions, covenants, and promises

                   17     required to be performed by Plaintiff in accordance with the policy, or any other agreement or

                   18     agreements, including but not limited to the applicable collective bargaining agreement(s).

                   19                              THIRTY-SECOND AFFIRMATIVE DEFENSE

                   20                    32.      As a separate and distinct affirmative defense, Defendant alleges that

                   21     Plaintiff’s Complaint, and each cause of action alleged therein, or some of them, are barred to the

                   22     extent that they are preempted by Section 301 of the Labor Management Relations Act, section 7

                   23     of the National Labor Relations Act, 29 U.S.C. § 185.

                   24                             RESERVATION OF ADDITIONAL DEFENSES

                   25                    Defendant alleges that because the Complaint is couched in conclusory terms, all

                   26     affirmative defenses that may be applicable cannot be fully anticipated. Accordingly, the right to

                   27     assert additional affirmative defenses, if and to the extent that such affirmative defenses are

                   28     applicable, is reserved. In addition, Defendant reserves the right to amend this Answer should
 LITTLER MENDELSON,
          P.C.
    Attorneys at Law                                                         8
5200 North Palm A venue
        Suite 302            DEFENDANT PACIFIC GAS AND ELECTRIC COMPANY'S ANSWER TO PLAINTIFF'S COMPLAINT
Fresno, CA 93704.2225
     559.244.7500
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 48 of 71


                     1    Defendant later discover facts demonstrating the existence of new and/or additional affirmative

                     2    defenses, and/or should a change in the law support the inclusion of new and/or additional

                     3    affirmative defenses.

                     4                                             JURY DEMAND

                     5                   Defendant demands a jury on all issues triable to a jury.

                     6                                                  PRAYER

                     7           WHEREFORE, Defendant prays for judgment as follows:

                     8                   1.       That Plaintiff takes nothing by the way of the Complaint on file herein;

                     9                   2.       That judgement be awarded in favor of Defendant;

                   10                    3.       That Plaintiff’s Complaint be dismissed with prejudice in its entirety as to

                   11     Defendant;

                   12                    4.       That Defendant be awarded all costs of suit incurred by it in this action;

                   13                    5.       That Defendant be awarded Defendant’s reasonable attorneys’ fees; and

                   14                    6.       For such other and further relief as the Court may deem just and proper.

                   15     Dated: February 28, 2023                              LITTLER MENDELSON, P.C.
                   16

                   17
                                                                                Ryan L. Eddings
                   18                                                           Julie R. Campos
                                                                                Attorneys for Defendant
                   19                                                           PACIFIC GAS AND ELECTRIC COMPANY
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 LITTLER MENDELSON,
          P.C.
    Attorneys at Law                                                        9
5200 North Palm A venue
        Suite 302            DEFENDANT PACIFIC GAS AND ELECTRIC COMPANY'S ANSWER TO PLAINTIFF'S COMPLAINT
Fresno, CA 93704.2225
     559.244.7500
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 49 of 71


                     1                                         PROOF OF SERVICE

                     2                  I am a resident of the State of California, over the age of eighteen years, and not a

                     3    party to the within action. My business address is 5200 North Palm Avenue, Suite 302, Fresno,

                     4    California 93704.2225. On February 28, 2023, I served the within document(s):

                     5                  DEFENDANT PACIFIC GAS AND ELECTRIC COMPANY'S
                                        ANSWER TO PLAINTIFF'S COMPLAINT
                     6

                     7                  by facsimile transmission at or about __________ on that date. This document was
                                       transmitted by using a facsimile machine that complies with California Rules of
                     8                  Court Rule 2003(3), telephone number . The transmission was reported as complete
                                        and without error. A copy of the transmission report, properly issued by the
                     9                  transmitting machine, is attached. The names and facsimile numbers of the person(s)
                                        served are as set forth below.
                   10
                                        by placing a true copy of the document(s) listed above for collection and mailing
                   11                  following the firm’s ordinary business practice in a sealed envelope with postage
                                        thereon fully prepaid for deposit in the United States mail at Fresno, California
                   12                   addressed as set forth below.
                   13                   by depositing a true copy of the same enclosed in a sealed envelope, with delivery
                                       fees provided for, in an overnight delivery service pick up box or office designated
                   14                   for overnight delivery, and addressed as set forth below.
                   15                   by personally delivering the document(s) listed above to the person(s) at the
                                       address(es) set forth below.
                   16
                                        Based on a court order or an agreement of the parties to accept service by e-mail or
                   17                  electronic transmission, I caused the documents to be sent to the persons at the e-
                                        mail addresses on the attached service list on the dates and at the times stated thereon.
                   18                   I did not receive, within a reasonable time after the transmission, any electronic
                                        message or other indication that the transmission was unsuccessful. The electronic
                   19                   notification address of the person making the service is eherrera@littler.com.
                   20
                                 Jerome Anthony Clay
                   21            LAW OFFICES OF JEROME A. CLAY
                   22            5250 Claremont Avenue, Suite 221
                                 Stockton, CA 95207
                   23            Phone: 209-603-9852
                                 Fax: 510-280-2841
                   24            Jclay7@claylaw.net
                   25
                                 Attorney for Plaintiff Latasha M. Wince
                   26

                   27

                   28
 LITTLER MENDELSON,
         P.C.
5200 North Palm A venue
       Suite 302                                                                                           PROOF OF SERVICE
Fresno, CA 93704.2225
     559.244.7500
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 50 of 71


                     1                   I am readily familiar with the firm's practice of collection and processing

                     2    correspondence for mailing and for shipping via overnight delivery service. Under that practice it

                     3    would be deposited with the U.S. Postal Service or if an overnight delivery service shipment,

                     4    deposited in an overnight delivery service pick-up box or office on the same day with postage or

                     5    fees thereon fully prepaid in the ordinary course of business.

                     6
                                         I declare that I am employed in the office of a member of the bar of this court at
                     7
                          whose direction the service was made. Executed on February 28, 2023, at Fresno, California.
                     8

                     9
                                                                        /s/ Erendira Herrera
                   10                                                   Erendira Herrera
                   11

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 LITTLER MENDELSON,
          P.C.
    Attorneys at Law
5200 North Palm A venue
                                                                           2                            PROOF OF SERVICE
        Suite 302
Fresno, CA 93704.2225
     559.244.7500
Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 51 of 71




              Exhibit “C”
                   Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 52 of 71




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 26305040
Notice of Service of Process                                                                            Date Processed: 01/31/2023

Primary Contact:           Jen Donat
                           Pacific Gas and Electric Company
                           77 Beale Street
                           24TH Fl
                           San Francisco, CA 94105-1814

Electronic copy provided to:                   Jeff Hudspeth

Entity:                                       Pacific Gas and Electric Company
                                              Entity ID Number 3070706
Entity Served:                                Pacific Gas And Electric Company
Title of Action:                              Latasha M. Wince vs. Pacific Gas and Electric Company
Matter Name/ID:                               Latasha M. Wince vs. Pacific Gas and Electric Company (13552913)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Discrimination
Court/Agency:                                 Sacramento County Superior Court, CA
Case/Reference No:                            34-2023-00333165
Jurisdiction Served:                          California
Date Served on CSC:                           01/30/2023
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Law Offices of Jerome A. Clay
                                              209-603-9852

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                       Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 ~~~~~
                                                                            Page 53 of 71                                                                                       •
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                                                                                                                                                  v.,,
     NOTICE TO DEFENDANT:                                                                                                 Case
          S
     PACIFIC GAS and ELECTRIC COMPANY Cafifomia corporation;                                                              34402.3-003331.
     JANAE VALENCIA, an indivt ua , OES 1 through 50, inclusive,
     YOU ARE BElNG SUED BY PLAINTIFF:
     (LO.ESTA'DEMANDANDO EL DEMANDANTE):
     LATASHA M. WINCE, an•individual,
                                               may dectde against you without your being heard unless you
     beiow.
        You have 30 CALENDAR bAYS after this summons and legai papers are served on you to ffie a written response at this court and have a copy
     served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper (egal farm if you want the court to hear your
     case. There may, be a court forra that you can use for your response. You can find these court forms and'more Information at the CalHornia Courts
     Online Self-Help Center (www.courfinfo.ca.gov/selthelp), your county law library, or the courthouse nearest you. If you cannot pey lhe filing fee, ask the
     court clerk for a fee araiver form. If you do not file your response on time, you may lose the case by defaufi, and your wages, money, and property may
     be taken wiihout fuFiher waming from the court.
        There are other legal requirements. You may want to cail an attorney right away {f you do not know an attomey, you may want to call an attomey
     rererral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprorit legal services program. You can locate
     Ihese nonprofit groups at the Califomia Legal Services Web site (www.lawhelpcaldomla.ong), the Catifamia Courts Onitne Self-Help Center
     (www.courtinfo.ca.gov/selthelp), o► by contacqng your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
     costs on any setUement or arbitratlon award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
     iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede deddir en su contra sin escucharsu versi6n. Lea ia lntbrmadbn a

         7iene 30 D1AS DE CALENDARIO despu6s de que le entreguen esta cftaci6n y papeies legales para presentar una respuesta por escrito en esta
      corte y hacar que se entregue una copla at demandante. Una carta o una llemada tefefbnica no lo prvtegen. Su respuesta por escrito tiene que estar
      en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formularto que usted pueda usar para su respuesta.
      Puede encontrar estos formularios de la corte y mSs informaci6n en el Centro da Ayuda de fas Cortes de Califomia (www.sucorte.ca.gov), en ia
      bibtloteca de leyes de su condado o en la corte que le quede m6s cerca. Si no puede pagar la cuota de presernaci6n, pida al secretado de ta corte que
      te d6 un tonnularlo de exenci6n de pago de cuotas. Si no presenta su rsspuesta a Nempo, puede perder el caso por fncumplimfento y ta corte !a podr8
      quiter su sueido, dinero y bienes sin mAs advertencia.
         Hay otros requisitos fegalas. Es recomendabfe que liame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamara un servicio de
      remisibn a abogados. SI no puede pagar a un abogado, es posible que cumpla con los rrequfsftos parra obtener servicios legales grafuitos de un
      programa de serviafos lega/es sin Rnes de lucro. Puede encontrar estos grupos sin rrnes do lucro en elsf7fo web de Califomia Legal Services,
      (www.lawhelpcalifomla.org), en el Centro de Ayuda de /as Cortes de CalNomia, (www.sucorte.ca.gov) o poni8ndose en oontacto con ta corte o et
      colegio de abogados locaies. AVISO; Por lay, la corte tiene derecho a reclamar las cuotas y los costos exentos por )mponar un gravamen sobre
      cualquierrecuperaci6n de S10,000 6 m8s de valorreeibide mediante un acuerdo o una concesibn de arbitraje en un caso de dereeho c►vU. Tiene que
      pagar el gravamen de ia eorte antes de que la corte pueda desechar ef caso.
     The name and address of the court is:                                                                 CASE NUMBER: (Nrimero del Caso):
     (El nombra y direccl6n de /a corte es): Superior Court of California, County of Saerament
     Gordon D, Schaber Sacr•amento County Courthouse
     720 9th Street, Sacramento, Callfomia 95814
     The name, address, and tefephone number of plaintifPs attomey, or plaintiff without an attomey, is: (El nombre, la dlnacc/6n y el
     nrimero de tel6fono del abogado del demandante, o del demandante que no tiene abogado, es): Jerome Anthony Clay, Jr., Esq.
     LAW OFFICES OF JEROME A. CLAY, 5250 Clanemont Avenue, Suite 221, Stodcton, Califomia 95207
     Tele hone: (209) 603-9852 Facsimile: (510) 280-2841 E-mail: Jclay7@daylaw.net
     DA:                                                                                   Clerk, by                                              , Deputy
     (Fecha) J04N 19 2023                                                                  (Secretario)                            ~.~            (Adjunto)
      (For praofofservice ofthis summons, use Proof of Service of Summons (form POS010).)
      (Para prueba de entrega de esta citati6n use el formularro Proof of Service of Summons, (POS-010).)
                                            NOTICE TO THE PERSON SERVED: You are served
       IsFJuI
                                            1.        as an individual defendant.
               OJQep`ap C   0~              2. []     as the person sued under the fictftious name of (speclfy):
                              •~ ' 9

            n
                                     .o
                                     ~s    3. [Q      on behaif of (specify):
             g                         `                                                                        CJ     CCP 416.60 (minor)
              ~,                 ►            under: Q  CCP 416.10 (corporation)
                                                     ~  CCP 416.20 (defunct corporation)                               CCP 416.70 (conservatee)
                   84CAAMENZo
                                                     ~  CCP 416.40 (association or partnership)                 Q      CCP 416.90 (authorized person)
                                                     ~  other (speciiy):
                                           4. [7 by personal defivery on (date)                                                                                             Paora 1 of 1
     Form Adoptud for Martdatory Ura                                       SUMMONS                                                     ooae afcfru Promdufs gg 412.20, 465
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                                                                                                                                                                         CM-010
                        Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 d"td
                                                                              Page
                                                                               Q
                                                                                  N„dh.54 of 71
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stale aer numbei end eddresa)
     Jerome Anthony Clay, Jr., Esq. (SBN: 327175)                                                                                    &W719TMA                      Cf C3l≥:fo 41a,
     LAW OFFICES OF JEROME A. CLAY                                                                                                   aau;,tvkewa
     5250 Claremont Avenue, Suite 221, Stockton, California 95207
              TELEPHONE No :(209) 603-9552          FAX No. (Opt+oea/J. (510) 250-2841                                               101118f2202$
           ' E-MAtLADDRE35   jclay7@claylaw.net
       ATTORNEY FOR (xeme) Plaintiff, LATASHA M. WINCE
                                                                                                                                                                                       5t1
     SUPERIOR COURT OF CAUFORNIA, COUNTY OF SACRAMENTO
      STREETADDRESS 720 9th Street
     MAIUNGADDRESs. 720 9th Street                                                                                                                                                     ~•


                                 Califomia 95814
     cITYAND ZIP CODE, SaCramento,
         BaANCH NAME Gordon D. Schaber Sacramento County Courthouse
     CASE NAME:
.?    Wince vs PG&E et al.                                                                                              °
                                                                                                                        CASENUMBER:
           CiVIL CASE COVER SHEE7'                                      Complex Case Designation
     ®         Unliinited       Q                Limited           Q      Counter         Q     Jolnder
               (Amount                           (Amount
                                                                  Filed with first appearance by defendant              JUDGE•
               demanded                          demanded is          (CaL Rules of Court, nile 3.402)
                                                 $25,000 or less)                                                       DEPT.:
               exceeds $25,000)
                                                    ncru~ r —~ r+arvry ~nuur uv wrnNw+vu (~cv ur~wv~~wrw vrr Nc.yv F/. •-                 ,                                  '
                -
      1. Ch'eck'one box below for the case type that best describes this case:
        Auto 7ont                                    Contract                                                       Provtslonally Complex Civil Litigatlon
          Q         Auto (22)                                      Q      Breach of contracUwarranty (06)           (Cat. Rules of Court, rules 3.400-3.403)
                                                                   Q                                                QAntitrusUfrade regulation (03)                      aY F
          Q         Uninsured motorist (46)                               Rule 3 740 collections (09)
          Other PIlPDMID (Personal InjurylProperty                 Q      Other collections (09)                    Q       Constfuctlon defect (10)
          DamagelWrongful Death) Tort                              Q      Insurance coverage (18)                   Q       Mass tort (40)
          Q         Asbestos (04)                                  Q      Other contract (37)                       QSecudGes litigation (28)
          Q         Product liability (24)                         Real Property                                    Q   EnvironmentaUToxic tort (30)
          Q         ivtedical maipractice (45)                     Q                                                Q       insurance coverage ctaims erising from the
                                                                          Eminent domairVinverse                            above listed provisionally oomplex case
          []        Other PI/PD/WD (23)                                   condemnation (14)                               tyPes (41)
          Non-PUPD/V1ID (Other) Tort                               Q     Wrongful evicfion (33)                     Enforcement oT Judgment
          Q     Business torUunfair business practioe (07)         Q     Other real property (26)                   Q     Enforcement of judgment (20)
                              08
                Civil ri9hts ()                                    Unlawful Detalner                                Mlscellaneous Clvll Complairrt
          Q
          Q     Defamat;on (13)                                    Q     Commerclal (31)                            Q     RICO (27)
                Fraud (16)                                         Q     Residential (32)                           Q
          Q                                                                                                               Other complaint (not specNTed above) (42)
          Q     Inteltectual property (19)                         Q     Drugs (38)
                                                                                                                    Miscellaneous Clvll Petltion
          Q] Professional negligence (25)                          Judlcial Revlew
                                                                                                                    Q       Partnershlp and corporate govemanoe (21)
                    Other non-PI/PDIWD tort (35)                   Q      A~et forfeiture (05)
          Q
                                                                   Q      Petition re: arbitration award (11)       Q       Other pelition (not specified above) (43)
          Employment
          ®    Wrongful termination (36)                           Q      Writ of mandate (02)
          Q    Other employment (15)                               Q      Otherjudicialreview(39)
      2. . This case. Q            is        ®      is not   complex under rule 3.400 of the Califomia Rules of Court. If the case is complex, mark the
           factors requiring exceptionai judicial management:
          a. Q          Large number of separateiy represented parties                 d. [Q Large number of witnesses
          b. Q          Extensive motion practice raising difficult or novei           e. Q Coordination with n:lated actions pending in one or more
                        issues that will be time-consuming to resolve                     courts in other counGes, states, or countries, or in a federal
          c. Q          Substantial amount of documentary evidence                        court
                                                                                   f. Q   Substantial postjudgment judiclal supervision
      3. Remedies sought (check all that apply): a. Q                    monetary b. Q  nonrnonetary; dedaratory or injundive relief c. ®       punitive
      4. Number of causes of action (specify): 4(Discrimination, Harassment,                            n   I Termination, Retaliation, Emotional Distress)
      5. This case ®               is        Q      is not    a class action suit.
      6. If there are any known related cases, fiie and serve a notiee of reiated                    se. You may use fomt CM-015.)
     Date: January 18, 2023                                                                      ,                                    ~
     Jerome Anthony Clay, Jr.                                       ^
                                   (TYPE OR PRINT NAME)                                                         (       A7URE OF PARTY (MR ATTORNt1' F.

         • Plaintiff must fite this oover sheet with the first paper filed in the action or probeegLmS44xcept small daims cases or cases filed
           under the Probate Code, Fam91y Code, or Welfare and Institutions Code). (Cal, Rules of Court, rule 3.220.) Failure to file may result
           in sanctions.
         • Fiie this cover sheet in addition to any cover sheet required by local court rule.
         • If this case is complex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve a copy of this cover sheet on all
           other parties to the action or proceeding-
         • Unless this is a collections case under rule 3.740 or a compiex case, this cover sheet witl be used for statisUcal purposes oniy.
      Form Adopted for Mandatory Use                                                                                             ~~R°~B9oic°'M•^+tas2ao,3220.3400-s.4a3.3.r4a.
        Judlda) CourtcU of Cafitcmla                                    CIVIL CASE COVER SHEET                                         Cet. Standarda of ,qdloel Admmtstretfor% eid. 3.10
     CM-010 tRev. Septomber t, 20211                                                                                                                                xww oouAa ca gov
                    Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 55 of 71
                                                                                                                                      CM-010
                            INSTRUCTIONS OAI HOW TO COMPLETE THE COVER SHEET
                                                  tf
To Plaintiffs and Others Filing First Papers. you are        filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
slatisUcs about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
                                                                                                             primary cause of action.
check the more speafic one_ If the case has multiple causes of action, check the box that best indicates the
To assist you in completing the sheet, examples of the cases that belong under each case type in Item 1 are provided below. A cover
sheet must be filed only with your initial paper. Faiiure to file a cover sheet with the first paper filed in a civil case may subject a party, •
Its•counsel, or both to sanctions under rutes 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money owed
                                                                                                                     a            in which
in'a sum stated to be certain that is not more than $25,000, exclusive of interest arid attorney's.fees, arising from transaction
property, services, or money was acquired on credit. A collections case does not includ® an action seeking the following: (1) tort
damages, (2) punifive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgrnent writ of
                                                                                                                           the general
attachment. The identification of a case as a rule 3.740 collections case on this form rfieans that it will be exempt from
time-for-service requirements and case management rules, unless a defendant files a responsiVe pleading. A rule 3.740 collections
oase will be subject to the requirements for service and obtaining a judgment In rule 3.740:
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case .Cover Sheet to designate whether the
case is complex_ If a plaintiff believes the case is complex under rule 3.400 of the Califomia Rules of Court, this must be indicated by
completing the appropriate boxes In iterns 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
cornplaint on all parties to the action. A defendant may file and serve no later than the time of its.first appearance a joinder in the
plaintiffs designation, a co unter-d esig nation that the case is not complex, or, if the plaintiff has niade no designation, a designation that
                                                         CASETYPES AND EXAMPLES                           "
the case is complex.                             Contract
 Auto Tor4 .                                                                  •                     ~ Provlslonally Complex Civil Lltigatlon (Cal.
                                                     Breach of Contract/Warranty (06)                 Rules of Court Rules 3.400-3.403)
   'Auto (22}-PersonallnjurylProperty
                                                        Breach of RenlaULease                             AntitrustlTrade Regulation (03)
            DamagelWrongful Death
                                                             Contract (not unlawful detainer              Constructlon Defect (10)
        Uninsured Motorist (46) ('d the
         case fnvolves an uninsured                              or wrongfuf evictfon)                    Claims Involving Mass Tort (40)
                                                        Contract/Vllarranty Breactr-Seller                Securities Litigation (28)
         motorist claim subject to                          plaintiff (not /raud or negligence)
         arbitratlon, check this item                                                                     EnvironmentaUToxic Tort (30)
                                                         eygent Breach of Contract/
                                                        Nli                                               Insurance Coverage Claims
         instead ofAuto)
                                                            Warran ty                   '                       (artsing fiam provisionelly complex
  Other PllPDNVD (Personal Injury!
                                                        Other Breach of ContracUWarranty                        case type listed above) (41)
  Property DamagelWrongful Death)                    Collections (e.g., money owed, open
 Tort                                                                                                Enforcement of Judgmenl
                                                         book accounts) (09)                           Enforcement of Judgment (20)
     Asbestos (04}
                                                         Collection Case-Seller Plaintiff                  Abstract of Judgment (Out of
       Asbestos Property Damage
                                                         Other Promissory Note/Collectfons                     County)
       Asbestos Personal Injury/
                                                              Case                                     Confession of Judgment (non-
           Wrongful Death
                                                     Insurance Coverage (not provisionally                    domestic rgtations)
       Product Liability (not asbestos or                complex) (18)
           foxicJonvironmental) (24)                                                                    Sister State Judgment
                                                        Auto Subrogatlan                                Administrative Agency Awani
       Medical Malpractice (45)
                                                       Other Coverage                                       (rrot unpaid taxes)
          Medical Malpractice-
                                                    Other Contract (37)                                  PetiUon/CertificaUDn of Entry of
              Physicians & Surgeons
                                                        Contractual Fraud                                    Judgment on Unpald Taxes
       Other Professional Health Care
                                                        Other Contract Dispute                           Other Enforcement of Judgment
            Malpractice
                                                 Real Property                                                 Case
       Other PIlPD/WD (23)
                                                     Eminent Domainflnverse                          Mlscellaneous Civll Complaint
            Premises Liability (e.g., stip
                                                        Condemnation (14)                                RICO (27)
               and fall)
                                                     Wrongful Eviction (33)                              ~her Complaini (not speclfied
         IntenUonal Bodity lnjury/PD/WD
                                                     pther Real Property (e.g., quiet title) (26)           above) (42)
               (e.g., assault, vandalism)
                                                        yyM of Possession of Real Property                  Declaratory Relief Only
         Intentional Infliclion of
                                                        Mortgage Foreclosure                                Injunctive Relief Only (non-
               Emotional Distress
                                                        Quiet Title                                                harassment)
          Negligent InFliction of
                                                        Other Real Property (not eminent                      Mechanics Lien
                EmoUonal Distress
                                                         domain, landlord/lenant, or                          Other Commercial Complaint
          Other PIIPD/WD
                                                         foreclosure)                                            Case (non-tort/non-complex)
  Non-PIfPDlVVD (Other) Tort
                                                  Unfawful Detainer                                           Other Civil Complaint
      Business TorUUnfair Business
                                                     Commercial (31)                                               (non-tort/non-complex)
         Practice (07)
                                                     Residential (32)                                Mlscellaneous Clvll Petltlon
      Civil Rights (e.g., discrimination,
              false arrest) (not civi!               Drugs (38) ('if the case involves Illega!           Partnership and Corporate
                                                     drogs, check this item; otherwise,                     Govemance (21)
            harassment) (08)
                                                     report as Commercial orResfdential)                 Other Petition (nof specifred
        Defamation (e.g., slander, iibel)
                                                  Judiclal Revlew                                           above
                                                     Assel Forfeiture (05)                                  CiviH arassment
        Fraudi(16)
                                                     Pet4ion Re: Arbitration Award (11)                     Workplace violence
        Intellectual Property (19)
                                                     Writ of Mandate (02)                                   E1dedDependent Adutt
        Professional NegIIgence (25)
                                                         Writ-AdministraUve Mandamus                            Abuse
            Legal MalpracUce
                                                         Writ-Mandamus on Limited Court                     Election Contest
            Other Professional Malpractice
                                                             Case Matter                                    PeUtion for Name Change
                 (not medtcat or /egal)
                                                         Writ-Other Limited Court Case                      Petltion for ReUef Frorn Late
        Olher Non-PI/PD/WD Tort (35)
                                                             Review                                                Claim
  Employment
                                                     Other Judicial Review (39)                               Other Civil Petition
        Wrongful TerminaUon (36)
                                                        Review of Health Officer Order
        Otfier Employment (15)
                                                        NoUce of Appeal-Labor
                                                             Commissioner Anneals
 ctit-oIo IRev, soPternber 1, 20211                       C1VIL CASE COVER SHEET                                                             Pae° 2c112
                 Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 56 of 71
                                                                                                FOR COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SACRAMENTO
STREET ADDRESS: 720 Ninth STREET


MAILING ADDRESS: 720 Ninth STREET


CITY AND ZIPCODE: Sacramento, CA 95814-1311


BRANCH NAME:     Gordon D Schaber Courthouse

PHONE NUMBER:    (916) 874-5522




 SHORT TITLE:            Wince vs. Pacific Gas and Electric Company, a Californi


                     NOTICE OF CASE MANAGEMENT CONFERENCE                                 CASE NUMBER:

                                    AND ORDER TO APPEAR                                  34-2023-00333155-CU-WT-GDS



   Hearing Date
   The above entitled action has been set for a case management conference at 08:30 AM on 12/01/2023
   in Department 38 in accordance with California Rules of Court 3.722. You must be familiar with the case
   and fully prepared to participate effectively in the case management conference.

   Case Management Statement
   All parties must file and serve a case management statement at least 15 calendar days before the case
   management conference. Parties are encouraged to file a single joint case management statement.

   Minimum Requirements
   Prior to the filing of the case management statement, the parties should have done the following:
      -Served all parties named in the complaint within 60 days after the summons has been issued
      -Ensured that all defendants and cross-defendants have answered, been dismissed, or had their defaults entered
      -Met and conferred with all parties as required by CRC 3.724 to discuss and resolve issues set forth therein.

   Tentative Ruling
   Following its review of the case management statement(s), the court may determine that a case management
   conference is not necessary.
   To determine whether an appearance is required, the parties must check the court’s tentative rulings after 2:00 p.m.
   on the Court day before the Thursday calendar by accessing the court’s internet website at
   www.saccourt.ca.gov/PublicCaseAccess/
   Remote Appearances
   Unless ordered to appear in person by the court, parties may appear remotely either telephonically or by video
   conference via the Zoom video/audio conference platform with notice to the court and all other parties in accordance
   with Code of Civil Procedure 367.75. If appearing remotely, parties are required to participate in their hearing using
   a device that has video and/or audio capability (i.e. computer, smartphone, or tablet). Although remote participation
   is not required, the court will presume all parties are appearing remotely for non-evidentiary civil hearings.
   Certification Filed in Lieu of Case Management Statement
   If parties in the action file a certification on a form provided by the court at least 15 calendar days prior to the date of
   the case management conference that the case is short cause (five hours or less of trial time), that the pleading
   stage is complete and that the case will be ready for trial within 60 days, the case will be exempted from any further
   case management requirements and will be set for trial within 60-120 days. The certification shall be filed in lieu of a
   case management statement.




                                                                                                                          Page: 1
                                  NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER TO APPEAR
               Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 57 of 71
Case Management Orders
At the case management conference, the court will consider whether the case should be ordered to judicial arbitration or
referred to other forms of Alternative Dispute Resolution. Whether or not a case management conference is held, the
court will issue a case management order shortly after the scheduled conference date.

Service of Case Management Notice
Unless otherwise ordered by the court, plaintiff shall serve a copy of this notice on any party to the complaint appearing
after the court issued this notice. The cross-complainant shall have the same obligation with respect to the
cross-complaint.

Compliance
Failure to comply with this notice or to appear at the case management conference may result in the imposition of
sanctions (including dismissal of the case, striking of the answer, or payment of money).

Continuances
Case management conference will not be continued except on a showing of good cause. If your case management
conference is continued on motion or by the court on its own motion all parties shall file and serve a new case
management statement at least 15 calendar days before the continued case management conference.



Dated: 01/27/2023

                                                             Kenneth C. Mennemeier , Judge of the Superior Court




                                                                                                                Page: 2
                    NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER TO APPEAR
                   Case 2:23-cv-00385-MCE-JDP      DocumentCounty
                                Superior Court of California, 1 Filed 03/01/23 Page 58 of 71
                                                                   of Sacramento
                                    720 Ninth Street Sacramento, CA 95814-1380 (916)
                                         874-5522—^Website www.saccourt.ca.gov
                              NOTICE AND ORDER OF COMPLEX CASE DETERMINATION

     Case Title:     LAT ASHA M. WINCE v. PACIFIC GAS AND ELECTRIC CO.                        Case Number: 34-2023-
     00333755
     Having reviewed and considered the pleadings on file, the court orders:
     •   THE CASE IS DEEMED COMPLEX and is assigned to:
              Hon. Jill Talley presiding in department 25                Hon. Lauri Damrell presiding in dept. 28
    This assignment is for all purposes pursuant to California Rules of Court 3.734, et seq. for complex case
    managemient, law and motion, and pre-assigned to this department for trial. Other motions reference in Local
    Rule 1.05 shall also be heard in this department.

This action involves one or more of the
following:                                                  The action Is likely to Involve:
•    Antitrust or trade regulations claims                  •   Numerous pretrial motions raising difficult or novel
                                                                legal issues that will be time-consuming to resolve
•    Construction defect claims involving many
     parties                                                •   Managemient of large number of witnesses or a
                                                                substantial amount of documentary evidence
•    Securities claims or investment losses
     involving many parties                                 •   Management of a large number of separately
                                                                represented parties
•    Environmental or toxic tort claims involving
     many parties                                           •   Coordination with related actions pending in one or
                                                                more courts in other counties, states, or countries, or
•    Claims involving mass torts                                in a federal court
•    Claims involving class actions                         •   Substantial post judgment judicial supervision
•    Insurance coverage claims arising out of any
                                                            •   Other:
     of the claims lited above

Government Code section 70616 establishes the fees for complex cases. Pursuant to Government Code section
70616, any ndh-exempt party who has appeared in this action, but who has not paid the required complex case
fee, is ordiCTed to pay the fee to the clerk within ten calendar days of the filing of this order. Failure to pay the
require^irees shall have the same effect as the failure to pay a filing fee, and shall be subject to the same
enfopdementand penalties (Cal. Gov. Code § 70616(g)).

  THE CASE IS DECLARED NOT COMPLEX: Any complex case fees that the parties have previously paid pursuant to
70616(a) pr (b) shall be reimbursed upon submission of a refund request together with a copy of this minute order by the
paying party to the Court's Civil General Civil Processing Unit. It may be submitted by mail or placed in one of the Civil Drop
Boxes located in Room 102 and the lobby ofthe Gordon D. Schaber Courthouse^at 7^0 9th Street, Sacramento CA 95814.

The plaintiff is directed to serve all other parties with a copy o

DATED:                        ^/^V^3                                                     4^
                                                                       TEVEN GE^ERCEB^
                                                                      Supervising Judge Civil Division
                                                                      Superior Court of California, County of Sacramento




     CV/I-205 PJ (Rev: 03/2022)            Notice and Order of Complex Case Determination - Presiding Judge
            Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 59 of 71

                                   CERTIFICATE OF SERVICE BY MAILING
                                           (C.C.P. Sec. 1013a(4))



                       LATASHA M. WINCE v. PACIFIC GAS AND ELECTRIC CO.
                                   Case No.: 34-2023-00333155


          • I, the Clerk of the Superior Court of California, County of Sacramento, certify that I am not a
            party to this cause, and on the date shown below I served the foregoing NOTICE and ORDER
            OF COMPLEX CASE DETERMINATION, by depositing true copies thereof, enclosed in
          ' separate, sealed envelopes with the postage fully prepaid, in the United States Mail at
            Sacramento, California, each of which envelopes was addressed respectively to the persons
          I and addresses shown below:


          ; JEROME A. CLAY JR.
          ; LAW OFFICES OF JEROME A. CLAY
          . 5250 CLAREMONT AVE STE 221
          . STOCKTON, CA 95207

               I, the undersigned deputy clerk, declare under penalty of perjury that the foregoing is true
          ' and correct.


Dated: ^^.V^T^J                                       Superior Court of California,
                                                        unty of Sacramento ^


                                                      A,0'DonnGH (f\M4r




CV/I-205 PJ (Rev: 03/2022)          Notice and Order of Complex Case Determination - Presiding Judge
Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 60 of 71




              Exhibit “D”
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 61 of 71


                     1    Ryan L. Eddings, Bar No. 256519
                          reddings@littler.com
                     2    Julie R. Campos, Bar No. 314063
                          jcampos@littler.com
                     3    LITTLER MENDELSON, P.C.
                          5200 North Palm Avenue
                     4    Suite 302
                          Fresno, California 93704.2225
                     5    Telephone:     559.244.7500
                          Fax No.:       559.244.7525
                     6
                          Attorneys for Defendant
                     7    PACIFIC GAS AND ELECTRIC COMPANY

                     8
                                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     9
                                                            COUNTY OF SACRAMENTO
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                   11
                          LATASHA M. WINCE, an individual,                      Case No. 34-2023-00333155-CU-WT-GDS
                   12
                                             Plaintiff,                         NOTICE TO PLAINTIFF OF
                   13                                                           DEFENDANT’S REMOVAL OF CIVIL
                                 v.                                             ACTION TO FEDERAL COURT
                   14
                          PACIFIC GAS and ELECTRIC COMPANY, a
                   15     California corporation; JANAE VALENCIA, an            Department 38
                          individual; and DOES 1 through 50, inclusive,         Trial Date: TBD
                   16                                                           Complaint Filed: January 18, 2023
                                             Defendants.
                   17

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                   19     TO PLAINTIFF AND HER ATTORNEYS OF RECORD:

                   20            PLEASE TAKE NOTICE that on March 1, 2023, the above-captioned matter was

                   21     removed from the Superior Court of the State of California, County of Sacramento where it was

                   22     previously pending, to the United States District Court for the Eastern District of California,

                   23     pursuant to 28 U.S.C. §§ 1331, 1441(a), and 1446. A copy of the Notice of Removal filed by

                   24     Defendant PACIFIC GAS AND ELECTRIC COMPANY (“Defendant”), is attached hereto as

                   25     Exhibit 1.

                   26

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                   28
 LITTLER MENDELSON,
         P.C.
5200 North Palm A venue                                                     1
       Suite 302
Fresno, CA 93704.2225         NOTICE TO PLAINTIFF OF DEFENDANT’S REMOVAL OF CIVIL ACTION TO FEDERAL COURT
     559.244.7500
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 62 of 71


                     1    Dated: March 1, 2023
                                                                       LITTLER MENDELSON, P.C.
                     2

                     3

                     4                                                 Ryan L. Eddings
                                                                       Julie R. Campos
                     5
                                                                       Attorneys for Defendant
                     6                                                 PACIFIC GAS AND ELECTRIC COMPANY
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 LITTLER MENDELSON,
          P.C.
    Attorneys at Law                                               2
5200 North Palm A venue
        Suite 302             NOTICE TO PLAINTIFF OF DEFENDANT’S REMOVAL OF CIVIL ACTION TO FEDERAL COURT
Fresno, CA 93704.2225
     559.244.7500
Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 63 of 71




EXHIBITS HERETO EXCERPTED TO
 AVOID FILING OF DUPLICATIVE
            PAPERS
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 64 of 71


                     1                                         PROOF OF SERVICE

                     2                  I am a resident of the State of California, over the age of eighteen years, and not a

                     3    party to the within action. My business address is 5200 North Palm Avenue, Suite 302, Fresno,

                     4    California 93704.2225. On March 1, 2023, I served the within document(s):

                     5                  NOTICE TO PLAINTIFF OF DEFENDANT’S REMOVAL OF
                                        CIVIL ACTION TO FEDERAL COURT
                     6

                     7                  by facsimile transmission at or about __________ on that date. This document was
                                       transmitted by using a facsimile machine that complies with California Rules of
                     8                  Court Rule 2003(3), telephone number . The transmission was reported as complete
                                        and without error. A copy of the transmission report, properly issued by the
                     9                  transmitting machine, is attached. The names and facsimile numbers of the person(s)
                                        served are as set forth below.
                   10
                                        by placing a true copy of the document(s) listed above for collection and mailing
                   11                  following the firm’s ordinary business practice in a sealed envelope with postage
                                        thereon fully prepaid for deposit in the United States mail at Fresno, California
                   12                   addressed as set forth below.
                   13                   by depositing a true copy of the same enclosed in a sealed envelope, with delivery
                                       fees provided for, in an overnight delivery service pick up box or office designated
                   14                   for overnight delivery, and addressed as set forth below.
                   15                   by personally delivering the document(s) listed above to the person(s) at the
                                       address(es) set forth below.
                   16
                                        Based on a court order or an agreement of the parties to accept service by e-mail or
                   17                  electronic transmission, I caused the documents to be sent to the persons at the e-
                                        mail addresses on the attached service list on the dates and at the times stated thereon.
                   18                   I did not receive, within a reasonable time after the transmission, any electronic
                                        message or other indication that the transmission was unsuccessful. The electronic
                   19                   notification address of the person making the service is eherrera@littler.com.
                   20
                                 Jerome Anthony Clay
                   21            LAW OFFICES OF JEROME A. CLAY
                   22            5250 Claremont Avenue, Suite 221
                                 Stockton, CA 95207
                   23            Phone: 209-603-9852
                                 Fax: 510-280-2841
                   24            Jclay7@claylaw.net
                   25
                                 Attorney for Plaintiff Latasha M. Wince
                   26

                   27

                   28
 LITTLER MENDELSON,
         P.C.
5200 North Palm A venue
       Suite 302                                                                                           PROOF OF SERVICE
Fresno, CA 93704.2225
     559.244.7500
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 65 of 71


                     1                   I am readily familiar with the firm's practice of collection and processing

                     2    correspondence for mailing and for shipping via overnight delivery service. Under that practice it

                     3    would be deposited with the U.S. Postal Service or if an overnight delivery service shipment,

                     4    deposited in an overnight delivery service pick-up box or office on the same day with postage or

                     5    fees thereon fully prepaid in the ordinary course of business.

                     6
                                         I declare that I am employed in the office of a member of the bar of this court at
                     7
                          whose direction the service was made. Executed on March 1, 2023, at Fresno, California.
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                                                                        /s/ Erendira Herrera
                   10                                                   Erendira Herrera
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 LITTLER MENDELSON,
          P.C.
    Attorneys at Law
5200 North Palm A venue
                                                                           2                            PROOF OF SERVICE
        Suite 302
Fresno, CA 93704.2225
     559.244.7500
Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 66 of 71




              Exhibit “E”
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 67 of 71


                     1    Ryan L. Eddings, Bar No. 256519
                          reddings@littler.com
                     2    Julie R. Campos, Bar No. 314063
                          jcampos@littler.com
                     3    LITTLER MENDELSON, P.C.
                          5200 North Palm Avenue
                     4    Suite 302
                          Fresno, California 93704.2225
                     5    Telephone:     559.244.7500
                          Fax No.:       559.244.7525
                     6
                          Attorneys for Defendant
                     7    PACIFIC GAS AND ELECTRIC COMPANY

                     8
                                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     9
                                                           COUNTY OF SACRAMENTO
                   10

                   11
                          LATASHA M. WINCE, an individual,                      Case No. 34-2023-00333155-CU-WT-GDS
                   12
                                             Plaintiff,                         NOTICE TO STATE COURT OF
                   13                                                           DEFENDANT’S REMOVAL OF CIVIL
                                 v.                                             ACTION TO FEDERAL COURT
                   14
                          PACIFIC GAS and ELECTRIC COMPANY, a
                   15     California corporation; JANAE VALENCIA, an            Department 38
                          individual; and DOES 1 through 50, inclusive,         Trial Date: TBD
                   16                                                           Complaint Filed: January 18, 2023
                                             Defendants.
                   17

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                   19     TO THE CLERK OF THE SACRAMENTO COUNTY SUPERIOR COURT:

                   20            PLEASE TAKE NOTICE that on March 1, 2023, the above-captioned matter was removed

                   21     from the Superior Court of the State of California, County of Sacramento where it was previously

                   22     pending, to the United States District Court for the Eastern District of California, pursuant to 28

                   23     U.S.C. §§ 1331, 1441(a), and 1446. A copy of the Notice of Removal filed by Defendant PACIFIC

                   24     GAS AND ELECTRIC COMPANY (“Defendant”), is attached hereto as Exhibit 1.

                   25            PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1446(d), the filing of a

                   26     Notice of Removal in the United States District Court, together with the filing of a copy of a Notice

                   27     of Filing Notice of Removal with this Court, effects the removal of this action, and this Court may

                   28     proceed no further unless and until the case is remanded.
 LITTLER MENDELSON,
         P.C.
5200 North Palm A venue                                                    1
       Suite 302
Fresno, CA 93704.2225       NOTICE TO STATE COURT OF DEFENDANT’S REMOVAL OF CIVIL ACTION TO FEDERAL COURT
     559.244.7500
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 68 of 71


                     1
                          Dated: March 1, 2023
                     2                                                LITTLER MENDELSON, P.C.
                     3

                     4
                                                                      Ryan L. Eddings
                     5                                                Julie R. Campos
                     6                                                Attorneys for Defendant
                                                                      PACIFIC GAS AND ELECTRIC COMPANY
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 LITTLER MENDELSON,
         P.C.
5200 North Palm A venue                                           2
       Suite 302
Fresno, CA 93704.2225       NOTICE TO STATE COURT OF DEFENDANT’S REMOVAL OF CIVIL ACTION TO FEDERAL COURT
     559.244.7500
Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 69 of 71




EXHIBITS HERETO EXCERPTED TO
 AVOID FILING OF DUPLICATIVE
            PAPERS
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 70 of 71


                     1                                         PROOF OF SERVICE

                     2                  I am a resident of the State of California, over the age of eighteen years, and not a

                     3    party to the within action. My business address is 5200 North Palm Avenue, Suite 302, Fresno,

                     4    California 93704.2225. On March 1, 2023, I served the within document(s):

                     5                  NOTICE TO STATE COURT OF DEFENDANT’S REMOVAL OF
                                        CIVIL ACTION TO FEDERAL COURT
                     6

                     7                  by facsimile transmission at or about __________ on that date. This document was
                                       transmitted by using a facsimile machine that complies with California Rules of
                     8                  Court Rule 2003(3), telephone number . The transmission was reported as complete
                                        and without error. A copy of the transmission report, properly issued by the
                     9                  transmitting machine, is attached. The names and facsimile numbers of the person(s)
                                        served are as set forth below.
                   10
                                        by placing a true copy of the document(s) listed above for collection and mailing
                   11                  following the firm’s ordinary business practice in a sealed envelope with postage
                                        thereon fully prepaid for deposit in the United States mail at Fresno, California
                   12                   addressed as set forth below.
                   13                   by depositing a true copy of the same enclosed in a sealed envelope, with delivery
                                       fees provided for, in an overnight delivery service pick up box or office designated
                   14                   for overnight delivery, and addressed as set forth below.
                   15                   by personally delivering the document(s) listed above to the person(s) at the
                                       address(es) set forth below.
                   16
                                        Based on a court order or an agreement of the parties to accept service by e-mail or
                   17                  electronic transmission, I caused the documents to be sent to the persons at the e-
                                        mail addresses on the attached service list on the dates and at the times stated thereon.
                   18                   I did not receive, within a reasonable time after the transmission, any electronic
                                        message or other indication that the transmission was unsuccessful. The electronic
                   19                   notification address of the person making the service is eherrera@littler.com.
                   20
                                 Jerome Anthony Clay
                   21            LAW OFFICES OF JEROME A. CLAY
                   22            5250 Claremont Avenue, Suite 221
                                 Stockton, CA 95207
                   23            Phone: 209-603-9852
                                 Fax: 510-280-2841
                   24            Jclay7@claylaw.net
                   25
                                 Attorney for Plaintiff Latasha M. Wince
                   26

                   27

                   28
 LITTLER MENDELSON,
         P.C.
5200 North Palm A venue
       Suite 302                                                                                           PROOF OF SERVICE
Fresno, CA 93704.2225
     559.244.7500
                          Case 2:23-cv-00385-MCE-JDP Document 1 Filed 03/01/23 Page 71 of 71


                     1                   I am readily familiar with the firm's practice of collection and processing

                     2    correspondence for mailing and for shipping via overnight delivery service. Under that practice it

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                     5    fees thereon fully prepaid in the ordinary course of business.

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                                         I declare that I am employed in the office of a member of the bar of this court at
                     7
                          whose direction the service was made. Executed on March 1, 2023, at Fresno, California.
                     8

                     9
                                                                        /s/ Erendira Herrera
                   10                                                   Erendira Herrera
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 LITTLER MENDELSON,
          P.C.
    Attorneys at Law
5200 North Palm A venue
                                                                           2                            PROOF OF SERVICE
        Suite 302
Fresno, CA 93704.2225
     559.244.7500
